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(12) United States Patent                                               (10) Patent No.:                      US 9,015,057 B2
       Phillips et al.                                                  (45) Date of Patent:                           *Apr. 21, 2015
(54) SYSTEMS AND METHODS FOR                                                  USPC ........................................ 604/2; 795/2; 705/2
       CONTROLLING AND BILLING NEURO-EEG                                      See application file for complete search history.
       SYNCHRONIZATION THERAPY
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(75) Inventors: James William Phillips, Fountain                                       U.S. PATENT DOCUMENTS
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(73) Assignee: Neosync, Inc., Newport Beach, CA (US)                        4,727,857 A         3, 1988 Hor
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(*) Notice:         Subject to any disclaimer, the term of this             5,092,835 A * 3/1992 Schurig et al. .................... 600/9
                    patent is extended or adjusted under 35                                        (Continued)
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(21) Appl. No.: 12/237,295
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(22) Filed:         Sep. 24, 2008                                                         OTHER PUBLICATIONS
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(60) Provisional application No. 60/975,096, filed on Sep.           Primary Examiner — John Pauls
     25, 2007, provisional application No. 61/096,596,               Assistant Examiner — Trang Nguyen
     filed on Sep. 12, 2008.                                         (74) Attorney, Agent, or Firm — Wilson Sonsini Goodrich &
                                                                     Rosati
(51)   Int. C.
       G06O 10/00               (2012.01)                            (57)                         ABSTRACT
       G06O 50/00               (2012.01)                            Described are methods, devices, and systems for controlling
       A6 IN 2/12               (2006.01)
       G06O 50/22               (2012.01)                            and/or billing a novel, inexpensive, easy to use therapy for a
                                                                     number of disorders. Described are methods and devices for
       A61 B 5/04               (2006.01)
       A61N 2/06                (2006.01)                            controlling and/or billing treatment of disorders that involves
                                                                     no medication. Methods and devices described herein for
(52)   U.S. C.                                                       controlling and/or billing neuro-EEG synchronization thera
       CPC A61N 2/12 (2013.01); G06O 50/22 (2013.01);                pies use alternating magnetic fields to gently “tune' the brain
           A61 B 5/04001 (2013.01); A61N 2/06 (2013.01)              and affect mood, focus, and cognition of Subjects.
(58)   Field of Classification Search
       CPC ................................. G06Q 50/22: A61N 2/12                     22 Claims, 24 Drawing Sheets
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                               Figure 1




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                            Figure 3




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                               Figure 8
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                                   Figure 9
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                Figure 10B                          Figure 10C



                Figure 10D                          Figure 10E



                Figure 10F                          Figure 10G
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                   FIG 11 A

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                   FIG. 11E                                   FIG. 11 F

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                   FIG 11 G                                   FIG. 11 H

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                            Figure 13



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                                   Figure 21




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                                    Figure 24


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                                                       2606




                                   Figure 26
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                                    Figure 27
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                                                  2806




                 2899
                                   Figure 28




    2997a                                 3095a




                                                         Figure 30
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              Depressive Symptom Change in Responders (N=11) and
                        Nonresponders (N=5) during NEST




                                   FIG. 31
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                  Clinical improvement in Depressive Symptom (N=27)
          0.60
                                                                          - SHAM
                                                                          -...-NEST
          0.50


          0.40


          0.30


          0.20


          0.10


          0.00


                                   Time (Week)


                                   FIG. 32
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  Score
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                                   Time (Weeks)




                                   Figure 33
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        SYSTEMS AND METHODS FOR                                    fied EEG band, of the subject toward a pre-selected or target
    CONTROLLING AND BILLING NEURO-EEG                              Q-factor of the band; and (b) applying said magnetic field
        SYNCHRONIZATION THERAPY                                    close to a head of the subject.
                                                                      In another aspect are methods of treating a subject, com
                 RELATED APPLICATIONS                              prising: determining the Q-factor of the intrinsic frequency
                                                                   within the specified EEG band of the subject; comparing the
   This application claims the benefit of U.S. Provisional Q-factor of the intrinsic frequency from step (a) to an average
Patent Application No. 60/975,096, filed Sep. 25, 2007, and Q-factor of the intrinsic frequency of a healthy population
U.S. Provisional Patent Application No. 61/096,596, filed 10 database;        if the Q-factor of the intrinsic frequency from step
                                                                   (a) is higher than the average Q-factor of the intrinsic fre
Sep. 12, 2008, the contents of which are herein incorporated quency         of the healthy population database, tuning down the
by reference in their entirety.                                    Q-factor of the intrinsic frequency of the Subject by applying
           BACKGROUND OF THE INVENTION                             a magnetic field with a plurality of frequencies or with a
                                                                   single pre-selected frequency close to a head of the Subject;
                                                                15 and if the Q-factor of the intrinsic frequency from step (a) is
   Mental disorders generate serious problems for the lower than the average Q-factor of the intrinsic frequency of
affected people, their families, and Society. Currently, psy the       healthy population database, tuning up the Q-factor of the
chiatrists and neurophysiologists treat these disorders with a intrinsic frequency of the Subject by applying a magnetic field
variety of medications, many of which have significant nega with a pre-selected frequency to a head of the Subject.
tive side effects.                                                    In another aspect are methods of treating a subject, com
   Repetitive Transcranial Magnetic Stimulation (rTMS) uses prising: (a) adjusting output of a magnetic field for influenc
an electromagnet placed on the scalp that generates a series of ing a coherence of intrinsic frequencies among multiple sites
magnetic field pulses roughly the strength of an MRI scan. in a brain of the subject within a specified EEG band toward
Some studies have shown that rTMS can reduce the negative a pre-selected or target coherence value; and (b) applying said
symptoms of schizophrenia and depression under certain cir 25 magnetic field close to a head of the Subject
cumstances. To generate low frequency magnetic field pulses           In another aspect are methods adjusting output of a mag
using an electromagnet such as in rTMS requires high cur netic field for influencing a coherence of intrinsic frequencies
rent. Over time, this high current results in significant heat among multiple sites in a brain of the Subject within a speci
that must be actively dissipated.                                  fied EEG band toward a pre-selected or target coherence
                                                                30 value comprising: determining the coherence value of the
              SUMMARY OF THE INVENTION                             intrinsic frequencies among multiple locations throughout a
                                                                   scalp of the subject; comparing the coherence value from step
   Described are methods and systems for novel, inexpensive,       (a) to an average coherence value of a healthy population
easy to use therapy for a number of mental disorders. 35           database;  if the coherence value from step (a) is higher than
Described are methods and devices to treat mental disorders        the average coherence value of the healthy population data
that involve no medication. Methods and devices described          base, lowering the coherence value of the Subject by applying
herein gently “tune' the brain and affect mood, focus, and the     at least two asynchronous magnetic fields close to a head of
cognition of human Subjects. Methods and devices described the subject;          if the coherence value from step (a) is lower than
                                                                       average coherence value of the healthy population data
herein gently “tune' the brain and affect mood, focus, and 40 base, raising the coherence value of the Subject by applying at
cognition of subjects. In one aspect are methods of treating a least one synchronized magnetic field close to a head of the
Subject, comprising: (a) adjusting output of a magnetic field Subject.
for influencing an intrinsic frequency of a specified EEG band        In another aspectare methods of using a Transcranial Mag
of the subject toward a pre-selected or target intrinsic fre netic Stimulation (TMS) device for influencing an intrinsic
quency of the specified EEG band; and (b) applying said 45 frequency of a subject within a specified EEG band, compris
magnetic field close to a head of the Subject.                     ing: (a) adjusting output of said TMS device; (b) changing
   In another aspect are methods of altering an intrinsic fre EEG frequency, Q-factor, or coherence by repetitive firing of
quency of a brain of a subject within a specified EEG band, a magnetic field using said TMS device; and (c) applying said
comprising: (a) determining the intrinsic frequency of the magnetic field close to a head of the Subject;
subject within the specified EEG band; (b) comparing the 50 In another aspect are methods of treating anxiety in a
intrinsic frequency from step (a) to an average intrinsic fre Subject, comprising tuning up the Q-factor of an intrinsic
quency of a healthy population database; (c) if the intrinsic frequency of the Subject by applying a magnetic field close to
frequency from step (a) is higher than the average intrinsic ahead of the Subject, wherein the magnetic field comprises at
frequency of the healthy population database, shifting down least one of (a) a single pre-selected frequency; (b) a plurality
the intrinsic frequency of the Subject by applying a specific 55 offrequencies within a specified EEG band; and (c) an intrin
magnetic field close to a head of the Subject, wherein said sic frequency of a brain of the subject within a specified EEG
specific magnetic field has a frequency lower than the intrin band. In some embodiments, any of the devices described
sic frequency of the Subject; and (d) if the intrinsic frequency herein may be used to treat anxiety.
from step (a) is lower than the average intrinsic frequency of        In some embodiments, are method of treating depression in
the healthy population database, shifting up the intrinsic fre 60 a subject, comprising tuning down the Q-factor of an intrinsic
quency of the Subject by applying a specific magnetic field frequency of the Subject by applying a magnetic field close to
close to a head of the Subject, wherein said specific magnetic ahead of the Subject, wherein the magnetic field comprises at
field has a frequency higher than the intrinsic frequency of the least one of (a) a single frequency; (b) a plurality of frequen
Subject.                                                           cies within a specified EEG band; and (c) an intrinsic fre
   In another aspect are methods of treating a subject, com 65 quency of a brain of the subject within a specified EEG band.
prising: (a) adjusting output of a magnetic field for influenc In some embodiments, any of the devices described herein
ing a Q-factor, a measure of frequency selectivity of a speci may be used to treat depression.
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   In another aspect are methods for treating a Subject, com In some embodiments of at least one aspect described above,
prising: (a) adjusting output of a magnetic field for influenc the pre-selected or target intrinsic frequency with the speci
ing an EEG phase between two sites in the brain of a subject fied EEG band is not greater than about 30 Hz. In some
of a specified EEG frequency toward a pre-selected EEG embodiments of at least one aspect described above, the pre
phase of the specified EEG frequency; and (b) applying said selected or target intrinsic frequency with the specified EEG
magnetic field close to a head of the Subject.                       band is not greater than about 20 Hz. In some embodiments of
   In some embodiments, the pre-selected EEG phase is lower at least one aspect described above, the pre-selected or target
than the EEG phase between the two sites in the brain of the intrinsic frequency with the specified EEG band is not greater
subject. In some embodiments, the pre-selected EEG phase is
any EEG phase lower than the EEG phase between the two 10 than            about 10 Hz. In some embodiments of at least one aspect
                                                                     described  above, the pre-selected or target intrinsic frequency
sites in the brain of the subject. In some embodiments, the with the specified            EEG band is greater than about 3 Hz. In
pre-selected EEG phase is higher than the EEG phase
                                                                     Some   embodiments
between the two sites in the brain of the subject. In some pre-selected or target         of at least one aspect described above, the
embodiments, the pre-selected EEG phase is any EEG phase                                      intrinsic frequency with the specified
higher than the EEG phase between the two sites in the brain      15 EEG   band  is greater than about 1 Hz. In some embodiments,
of the subject. In some embodiments, the pre-selected EEG of at least one aspect described above, the pre-selected or
phase is an EEG phase of a population of people. The popu target intrinsic frequency with the specified EEG band is up to
lation of people may be a set of people having a particular about 25 Hz. As used herein, the term “about when referring
trait, characteristic, ability, or feature. The population may be to a frequency can mean variations of 0.1 Hz to 0.2 Hz, 0.1 Hz
a healthy population of people. The population of people may to 0.5 HZ, 0.5 Hz to 1 Hz, or 1 Hz to 5 Hz. In some embodi
be a set of people not having a particular disorder, such as ments, applying of the magnetic field is to the motor cortex of
anxiety, depression, or other disorders mentioned herein. In the subject.
Some embodiments, the methods comprise measuring EEG                    In some embodiments, the pre-selected and/or target intrin
data of two sites in the brain of the Subject, and calculating the sic frequency is chosen from a plurality of intrinsic frequen
EEG phase between the two sites in the brain of a subject. The 25 cies in the specified EEG band. In some embodiments the
specified EEG frequency may be an intrinsic frequency as pre-selected and/or target intrinsic frequency is chosen from
described herein. The specified EEG frequency may be a a plurality of intrinsic frequencies across a plurality of EEG
pre-selected frequency as described herein. The pre-selected bands. In some embodiments the specified EEG band is the
frequency may be an average intrinsic frequency of a healthy Alphaband. In some embodiments the specified EEG band is
population database within a specified EEG band.                  30 the Beta band. In some embodiments of at least one aspect
   In another aspect are methods for influencing an EEG described above, the methods further comprise the step of
phase of a specified EEG frequency between multiple loca measuring EEG data of the subject before the applying step.
tions of a brain of a Subject, comprising: (a) determining the In some embodiments of at least one aspect described above,
EEG phase the between at least two locations measured on the said higher frequency is not greater than about 50 Hz. In some
head of the subject; (b) comparing the EEG phase from step 35 embodiments of at least one aspect described above, said
(a) to an average EEG phase of a healthy population; and (c) higher frequency is not greater than about 30 Hz.
applying a magnetic field close to a head of the Subject                In some embodiments of at least one aspect described
wherein applying the magnetic field influences the deter above, the varying frequencies (e.g. hopping frequencies) are
mined EEG phase toward the average EEG phase of a healthy moving average frequencies based on a predetermined fre
population.                                                       40 quency around an intrinsic frequency within a predetermined
   In another aspect are methods for using a Transcranial frequency range. In some embodiments, the varying frequen
Magnetic Stimulation (TMS) device for influencing an EEG cies are randomly selected within a predetermined frequency
phase of a Subject of a specified EEG frequency, comprising:         range. In some embodiments of at least one aspect described
(a) adjusting output of said TMS device; (b) changing the above, the varying frequencies are moving average frequen
EEG phase by repetitive firing of at least one magnetic field 45 cies within a specified EEG band of a healthy population
using said TMS device; and (c) applying said magnetic field database. Those moving average frequencies can change
close to a head of the subject.                                      from an initial frequency to a target frequency within a spe
   In some embodiments, the magnetic field results from a cific amount of time. In some embodiments of at least one
first magnetic source and a second magnetic source. In some aspect described above, the varying frequencies are frequen
embodiments, the first magnetic source and the second mag 50 cies hopping around within a pre-determined frequency
netic source are out of phase relative to each other. In some range. In some embodiments of at least one aspect described
embodiments, the amount that the first magnetic source and above, the varying frequencies are frequencies hopping
the second magnetic source are out of phase relative to each around an intrinsic frequency within a specified EEG band of
other is called the magnetic phase.                                  a healthy population database. In some embodiments of at
   In some embodiments, the methods described are with the 55 least one aspect described above, the pre-selected or target
proviso that the methods are not used to treat Schizophrenia. frequency is an average intrinsic frequency of a healthy popu
   In some embodiments of at least one aspect described lation database within a specified EEG band. In some
above, the step of applying the magnetic field is for a prede embodiments of at least one aspect described above, the pre
termined cumulative treatment time. In some embodiments of           selected or target frequency is an intrinsic frequency of a brain
at least one aspect described above, the pre-selected or target 60 of the subject within a specified EEG band.
intrinsic frequency with the specified EEG band is from about           In some embodiments of at least one aspect described
0.5 Hz to about 100 Hz. In some embodiments of at least one          above, the methods further comprise the step of measuring
aspect described above, the pre-selected or target intrinsic EEG data of the subject after the applying step. In some
frequency with the specified EEG band is from about 1 Hz to embodiments, further comprising the steps of adjusting fre
about 100 Hz. In some embodiments of at least one aspect 65 quency of said magnetic field based on the EEG data of the
described above, the pre-selected or target intrinsic frequency Subject; and
with the specified EEG band is not greater than about 50 Hz. repeating the applying step with an adjusted frequency.
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   In some embodiments of at least one aspect described response, attention span, immediate reaction time (IRT),
above, the applying of the magnetic field is continuous, in that movement time (MT), simple perceptual reaction time (SPR),
it does not consist of discrete pulses separated by significant conflict perceptual reaction time (CPR), and any combination
sections in which no magnetic field is applied. In some thereof. In some embodiments of at least one aspect described
embodiments of at least one aspect described above, the mag above, the method provides an improvement as measured
netic field is continuously applied. A magnetic field that is using a rating scale selected from the group consisting of
continuously applied may alternate between a positive and HAMA, HAMD, PANSS, MADRS, BARS, SAS, and any
negative field and include one or more neutral field(s), or combination thereof. In some embodiments of at least one
alternate between a positive field and a neutral field, or alter aspect described above, the method provides an improvement
nate between a negative field and a neutral field, or some other 10 as measured using the Unified Parkinson's Rating Scale. In
combination of magnetic fields. It is continuous in the sense Some embodiments of at least one aspect described above, the
that it has a repetitive pattern (waveform) of charged fields method          provides an improvement as measured using a modi
(whether positive, negative, or a combination thereof) and
uncharged fields. In some embodiments of at least one aspect        fied Unified  Parkinson's Rating Scale. In some embodiments
described above, the applying of the magnetic field applies 15 of at least one aspect described above, the method uses a
the magnetic field to a diffused area in a brain of the subject.    Permanent Magneto-EEG Resonant Therapy (pMERT)
   In some embodiments of at least one aspect described             device   (alternatively called a Neuro-EEG Synchronization
above, the magnetic field is generated by movement of at least Therapy (NEST) device). In some embodiments of at least
one permanent magnet. In some embodiments, said move one aspect described above, the method uses a device as
ment comprises rotation of at least one said permanent mag described herein. In some embodiments of at least one aspect
net. In some embodiments, said movement comprises linear described above, the method does not use a Transcranial
motion of at least one said permanent magnet. In some Magnetic Stimulation (TMS) device.
embodiments, said movement comprises curvilinear motion                In another aspect are devices comprising,
of at least one said permanent magnet. In some embodiments,            (a) at least one permanent magnet; and
said movement comprises at least one of rotational motion, 25 (b) a subunit coupled to the magnet;
linear motion, and Swing motion. In some embodiments, the wherein the subunit enables movement of at least one said
strength of the at least one permanent magnetic is from about magnet at a frequency between about 0.5 Hz and about 100
10 Gauss to about 4 Tesla. In some embodiments, the distance       HZ.
between the at least one permanent magnet and the Subject is          In another aspect are devices comprising,
from about 0 inches to about 12 inches, from about /32 inches 30 (a) at least one permanent magnet; and
to about 12 inches, from about/16 inches to about 5 inches, or   (b) a subunit coupled to the magnet;
from about 1 inch to about 5 inches. As used herein, the term wherein    the subunit enables movement of at least one said
“about when referring to distance between the at least one         magnet at a frequency between about 2 Hz, and about 20 Hz.
permanent magnet and the Subject can mean variations of/64             In another aspect are devices comprising a means for
inch, /32 inch, /16 inch, /s inch, 4 inch, /3 inch, 12 inch, or 1 35 applying a magnetic field to a head of a Subject; whereby the
inch.
   In some embodiments where the step of applying the mag means for applying the magnetic field is capable of influenc
netic field is for a pre-determined cumulative treatment time, ing an intrinsic frequency of a brain of the Subject within a
said pre-determined cumulative treatment time is at least 5       specified EEG band.
min. In some embodiments where the step of applying the 40 In another aspect are devices comprising a means for
magnetic field is for a pre-determined cumulative treatment applying a magnetic field to a head of a Subject; whereby the
time, said pre-determined cumulative treatment time is from means for applying the magnetic field is capable of influenc
about 5 minto about two hours.                                    ing a Q-factor of an intrinsic frequency of a brain of the
   In some embodiments of at least one aspect described subject within a specified EEG band.
above, the methods further comprise repeating the applying 45 In another aspect are devices comprising a means for
step after an interval of treatment. In some embodiments, the applying a magnetic field to a head of a Subject; whereby the
interval of treatment is from about 6 hours to about 14 days. means for applying the magnetic field is capable of influenc
   In some embodiments of at least one aspect described ing a coherence of intrinsic frequencies among multiple sites
above, the method improves an indication selected from the in a brain of the subject within a specified EEG band.
group consisting of replacement for meditation, quick nap, 50 In some embodiments of at least one aspect described
stress release, attention span, comprehension, memory, low above, the subunit comprises a rotating mechanism. In some
ered blood pressure, increased libido, sports performance, embodiments, said rotating mechanism comprises:
academic performance, and any combination thereof. In                (a) a motor;
Some embodiments of at least one aspect described above, the         (b) a power source capable of powering the motor; and
method improves a mental disorder selected from the group 55 (c) a rotating element coupled to the motor and coupled to
consisting of depression, bipolar, anxiety, obsessive-compul            the magnet.
sive, seizure, Parkinson's disease, ADHD, autism, Substance          In some embodiments of at least one aspect described
abuse, head injury, Alzheimer's disease, eating disorder, above, said device comprises at least one permanent magnet.
sleep disorder, tinnitus, and any combination thereof. In some In some embodiments of at least one aspect described above,
embodiments of at least one aspect described above, the 60 the strength of the at least one permanent magnet is from
method improves symptoms of fibromyalgia. In some about 10 Gauss to about 4 Tesla. In some embodiments of at
embodiments of at least one aspect described above, the least one aspect described above, the magnetic field is an
method halts the onset of a seizure. In some embodiments of       alternating magnetic field.
at least one aspect described above, the method prevents the         In some embodiments of at least one aspect described
onset of a seizure. In some embodiments of at least one aspect 65 above, the magnetic field is generated by movement of at least
described above, the method improves a characteristic one permanent magnet. In some embodiments, the movement
selected from the group consisting of peripheral visual of the at least one said magnet is at a frequency between about
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0.5 Hz and about 100 Hz. In some embodiments, the move             said EEG data analysis service is capable of associating the
ment of the at least one said magnet is at a frequency between     said information with an identification associated with the
about 2 Hz, and about 20 Hz.                                      Subject.
   In some embodiments of at least one aspect described              In some embodiments of at least one aspect described
above, said movement comprises rotation of at least one said 5 above, the devices further comprise logic that uploads EEG
permanent magnet. In some embodiments of at least one data collected from the subject to an EEG data analysis ser
aspect described above, said movement comprises linear vice, wherein the EEG data analysis service is capable of
motion of at least one said permanent magnet. In some validating information uploaded from the device, wherein
embodiments of at least one aspect described above, said said information comprises at least one of items listed below:
movement comprises Swing motion of at least one said per 10 (a) at least one intrinsic frequency;
manent magnet. In some embodiments, said movement com                (b) Q-factor of the at least one intrinsic frequency;
prises at least one of rotational motion, linear motion, and         (c) a coherence value of intrinsic frequencies;
Swing motion.                                                        (d) an EEG phase; and
   In some embodiments of at least one aspect described              (e) any combination thereof.
above, said movement generates an alternating magnetic 15 In some embodiments, said information comprises at least
field. In some embodiments of at least one aspect described two of the listed items. In some embodiments of at least one
above, the magnetic field is continuously applied. In some aspect described above, further comprising logic that down
embodiments of at least one aspect described above, the mag loads a treatment dosage quota. In some embodiments, the
netic field covers a diffused area in a brain of a subject. In treatment dosage quota is chosen by a user treating the Subject
Some embodiments of at least one aspect described above, the based on a diagnosis of the Subject. In some embodiments, the
device is a Permanent Magneto-EEG Resonant Therapy treatment dosage quota is chosen by a user who is charged for
(pMERT) device. In some embodiments of at least one aspect requesting a download of a cumulative treatment time based
described above, the device is a Neuro-EEG Synchronization on a diagnosis of the Subject. In some embodiments, the user
Therapy (NEST) device. As used herein, the terms Neuro is charged by a billing service before, during, or after the
EEG Synchronization Therapy (NEST) device and Perma 25 download of the dosage quota.
nent Magneto-EEG Resonant Therapy (pMERT) device may                 In some embodiments of at least one aspect described
be used interchangeably.                                          above, the devices further comprise logic that uploads a Sub
   In some embodiments of at least one aspect described ject's EEG data through at least one of an internet line and a
above, the devices further comprise logic that controls the phone line to an EEG data analysis service. In some embodi
frequency to be any frequency between about 2 and about 20 30 ments of at least one aspect described above, the devices
HZ in increments of about 0.1 Hz. In some embodiments of at       further comprise logic that records usage information for
least one aspect described above, the devices further comprise using the device. In some embodiments, the device further
logic that controls the frequency to be any frequency between comprises logic that ceases to deliver treatment after a treat
about 2 and about 50 Hz in increments of about 0.1 Hz. In         ment dosage quota is depleted. In some embodiments, the
Some embodiments of at least one aspect described above, the 35 billing service is a vendor of the device. In some embodi
devices further comprise logic that automatically changes the ments of at least one aspect described above, the devices
frequency in response to EEG readings of a subject before further comprise logic that allows a user to establish a user
and/or during treatment. In some embodiments of at least one acCOunt.
aspect described above, the devices further comprise logic           In some embodiments, the device comprises at least two
that allows a user to set duration of a treatment before said 40 permanent magnets. In some embodiments, the device com
treatment. In some embodiments, the user may be, for non prises a helmet to be used for a subject’s head. In some
limiting example, a patient, a therapist, a psychiatrist, a psy embodiments of at least one aspect described above, the
chologist, a neurologist, a family doctor, a general practitio device comprises a communication Subunit for coupling to an
ner, a another medical professional, or a person treating a internet line. In some embodiments of at least one aspect
patient. In some embodiments, the user is not a patient.       45 described above, the device comprises a communication Sub
   In some embodiments of at least one aspect described unit for coupling to a phone line. In some embodiments, the
above, the devices comprise a white noise generator.              device comprises a memory subunit for storing information
   In some embodiments, the devices further comprise a cou during a treatment.
pling to at least one of an internet line and a phone line. In       In another aspect are methods for ordering a therapeutic
Some embodiments, at least a portion of the coupling to the 50 dosage quota through internet, comprising,
internet line or to the phone line is wireless. The device may       (a) receiving a request from a user to access a user account
further comprise a Smart card for storing and transferring              through internet for ordering the therapeutic dosage
information.                                                            quota,
   In some embodiments of at least one aspect described              (b) allowing the user to select at least one desired thera
above, the devices further comprise logic that calculates 55            peutic dosage quota; and
information from EEG data collected from the subject within          (c) allowing the downloading ofatherapeutic dosage quota
a specified EEG band, wherein said information comprises at             into a device comprising a means for applying a mag
least one of items listed below:                                        netic field to a head of a subject.
   (a) at least one intrinsic frequency;                            The user may be allowed, in Some embodiments, to down
   (b) Q-factor of the at least one intrinsic frequency;       60 load the therapeutic dosage quota. In some embodiment, the
   (c) a coherence value of intrinsic frequencies;                methods further comprise the step of establishing a user
   (d) an EEG phase; and                                          account based on a request from a user for ordering a thera
   (e) any combination thereof.                                   peutic dosage quota.
   In some embodiments, the devices further comprise logic           In another aspect are methods for uploading EEG data
that uploads said information through at least one of an inter 65 associated with a Subject through internet, comprising,
net line and a telephone line to an EEG data analysis service        (a) creating a database for storing a user account associated
capable of storing said information. In some embodiments,               with a user;
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   (b) storing the user account in the database,                    ject, Q-factor of the intrinsic frequency of the Subject, a
   (c) receiving a request from the user to access the user coherence value of intrinsic frequencies of the Subject, an
      acCOunt,                                                      EEG phase of a specified EEG frequency of the subject,
   (d) allowing said EEG data to be recorded into a device treatment information of the Subject, and device usage infor
      comprising a means for applying a magnetic field to a mation for the Subject. In some embodiments, the retrieving
      head of the subject;                                          and updating steps occur upon the Subjects visit to a psychia
   (e) determining from said EEG data at least one of an trist, a therapist, a treatment provider, and/or another type of
      intrinsic frequency within a specified EEG band, Q-fac medical professional. In some embodiments, the retrieving
      tor of the intrinsic frequency, an EEG phase, and a coher and updating steps occur prior to a Subject's visit to a psy
      ence value of intrinsic frequencies; and                   10 chiatrist, atherapist, a treatment provider, and/or another type
   (f) allowing the uploading of at least one of the EEG data, of medical professional. In some embodiments, the retrieving
      the intrinsic frequency within a specified EEG band, the and updating steps occur following a Subject's visit to a
      Q-factor of the intrinsic frequency, the EEG phase, the psychiatrist, a therapist, a treatment provider, and/or another
      coherence value of intrinsic frequencies, and any com type of medical professional.
      bination thereof.                                          15    In some embodiments of at least one aspect described
   In some embodiments, allowing the user to upload may above, the methods or devices use a Transcranial Magnetic
include allowing the user to move data from a device as Stimulation (TMS) device.
described herein to a database. The method may comprise                Provided herein is a method comprising adjusting an out
receiving a request from the user to access the user account put current of an electric alternating current source for influ
through at least one of an internet line or a phone line for encing an intrinsic frequency of an EEG band of a subject
access to said database. The method may comprise allowing toward a target frequency of the EEG band; and applying said
the user to upload at least one of an intrinsic frequency within output current across a head of the Subject.
a specified EEG band, Q-factor of the intrinsic frequency, an          In some embodiments, the step of adjusting the output
EEG phase, and a coherence value of intrinsic frequencies. current comprises setting the output current to a frequency
The data may include at least one of the EEG data, an intrinsic 25 that is lower than the intrinsic frequency of the subject.
frequency within a specified EEG band, Q-factor of the intrin          In some embodiments, the step of adjusting the output
sic frequency, a coherence value of intrinsic frequencies, or current comprises setting the output current to a frequency
any combination thereof.                                            that is higher than the intrinsic frequency of the Subject.
   In some embodiments of at least one aspect described                In some embodiments, the step of adjusting the output
above, the device is any device. In some embodiments of at 30 current comprises setting the output current to the target
least one aspect described above, the user account comprises frequency.
   (a) user information;                                               Provided herein is a method comprising determining the
   (b) user access information; and                                 intrinsic frequency of the EEG band of the subject; and com
   (c) based on each Subject and each therapeutic dosage paring the intrinsic frequency to the target frequency of the
      quota administered to each subject, fields for storing at 35 EEG band, wherein the target frequency is an average intrin
      least one of                                                  sic frequency of the EEG band of a healthy population of
      (1) EEG data of the subject,                                  people, wherein if the intrinsic frequency is higher than the
      (2) intrinsic frequency within a specified EEG band of target frequency, the step of adjusting the output current com
         the Subject,                                               prises setting the output current to a frequency that is lower
      (3) Q-factor of the intrinsic frequency of the subject 40 than the intrinsic frequency of the Subject, and if the intrinsic
      (4) an EEG phase of a specified EEG frequency of the frequency is lower than the target frequency, the step of
         Subject,                                                   adjusting the output current comprises setting the output cur
      (5) a coherence value of intrinsic frequencies of the rent to a frequency that is higher than the intrinsic frequency
         Subject,                                                   of the subject.
      (6) treatment information of the subject, and              45    Provided herein is a method comprising adjusting an out
      (7) device usage information for the subject.                 put current of an electric alternating current source for influ
   In some embodiments, the user information excludes iden          encing a Q-factor of an intrinsic frequency of an EEG band of
tifying information (e.g. user names).                              a subject toward a target Q-factor, and applying said output
   In some embodiments of at least one aspect described current across a head of the Subject.
above, the methods further comprise the step of charging at 50 In some embodiments, the step of adjusting the output
least one of the user, the Subject, and an insurance company current comprises varying a frequency of the output current.
associated with the subject a fee for use of the device based on       In some embodiments, the step of adjusting the output
the dosage quota ordered in at least one of the user account current comprises setting the output current to a frequency
and the device.                                                     that is higher than the intrinsic frequency of the Subject.
   In another aspect are methods for administration of treat 55 In some embodiments, the step of adjusting the output
ment of Subjects, comprising,                                       current comprises setting the output current to a frequency
   (a) storing data in a device of an individual Subject during that is lower than the intrinsic frequency of the subject.
      treatment using the device, wherein the device com               In some embodiments, the step of adjusting the output
      prises a means for applying a magnetic field to a head of current comprises setting the output current to the target
      the subject;                                               60 frequency.
   (b) retrieving the data of said individual subject from said        In some embodiments, the method further comprises deter
      device; and                                                   mining the Q-factor of the intrinsic frequency of the EEG
   (c) updating a database for the Subject with the data, band of the Subject; and comparing the Q-factor to the target
      through at least one of an internet line and a phone line. Q-factor, wherein the target Q-factoris an average Q-factor of
   In some embodiments, said data of said individual Subject 65 the intrinsic frequencies of the EEG band of a healthy popu
comprises at least one of EEG data of the subject, at least one lation of people, wherein if the Q-factor of the intrinsic fre
intrinsic frequency within a specified EEG band of the sub quency is higher than the target Q-factor, the step of adjusting
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the output current comprises varying a frequency of the out method or methods may further comprise determining the
put current, and if the Q-factor of the intrinsic frequency is intrinsic frequency from the electrical brain activity detected
lower than the target Q-factor, the step of adjusting the output by the first electrode and the reference signal detected by the
current comprises setting the output current to a frequency second electrode.
that is the intrinsic frequency of the Subject.                         In some embodiments, a device as described herein is
   In some embodiments, influencing an intrinsic frequency operable to influence an EEG phase between two sites in the
may include influencing harmonics of the pre-selected intrin brain of a subject of a specified EEG frequency. The device
sic frequency of the specified EEG band. In some embodi may comprise a second permanent magnet, wherein the Sub
ments, the pre-selected intrinsic frequency is a harmonic of unit is coupled to the second magnet, and wherein the Subunit
the peak intrinsic frequency of a specified EEG band. In some 10 enables movement of the second magnet at a frequency
embodiments, influencing the pre-selected intrinsic fre between about 0.5 Hz and about 100 Hz. The subunit may
quency includes applying harmonic frequencies of the pre enable movement of the second magnet at a frequency
selected intrinsic frequency. In some embodiments, the vary between about 2 Hz, and about 20 Hz. The first permanent
ing frequencies comprise harmonic frequencies of a single magnet may have a first rotational orientation relative to a
frequency. The single frequency may comprise the pre-se 15 treatment Surface of the device and the second permanent
lected intrinsic frequency.                                          magnet may have a second rotational orientation relative to
   In some embodiments, a device as described herein is              the treatment surface of the device. The device may be oper
operable to influence an intrinsic frequency of the brain of a able to move the first permanent magnet at the same fre
subject within a specified EEG band. A device as described quency as the second permanent magnet. The first rotational
herein may be operable to influence a Q-factor of an intrinsic orientation relative to a first portion of a treatment surface of
frequency of the brain of a subject within a specified EEG the device may be between at least about 0 degrees and about
band. A device as described herein may be operable to influ 360 degrees different from the second rotational orientation
ence a coherence of intrinsic frequencies among multiple relative to a second portion of the treatment surface of the
sites in the brain of a subject within a specified EEG band.         device. The first rotational orientation relative to a first por
   In some embodiments, a device as described hereinfurther 25 tion of a treatment surface of the device may be at least one of:
comprises a first electrode operable to detect electrical brain between at least about 0 degrees and about 180 degrees,
activity; and a second electrode operable to detect a reference between at least about 0 degrees and about 90 degrees,
signal, wherein the first electrode is located on the subject in between at least about 0 degrees and about 45 degrees,
at least one of an area of low electrical resistivity on a subject, between at least about 0 degrees and about 30 degrees,
and an area with Substantially no electrical impulse interfer 30 between at least about 0 degrees and about 15 degrees,
ence on a Subject, and wherein the second electrode is located between at least about 0 degrees and about 10 degrees, at least
on the subject. In some embodiments, a device as described about 5 degrees, at least about 10 degrees, at least about 15
herein further comprises a first electrode operable to detect degrees, at least about 30 degrees, at least about 45 degrees, at
electrical brain activity; and a second electrode operable to least about 60 degrees, at least about 90 degrees, at least about
detect a reference signal, wherein the first electrode is located 35 120 degrees, at least about 180 degrees, at least about 240
on the Subject in at least a portion of the ear canal of the degrees, and at least about 270 degrees different from the
subject, and wherein the second electrode is located on the second rotational orientation relative to a second portion of
Subject.                                                             the treatment surface of the device. The specified EEG fre
   In some embodiments of the methods described herein, the          quency may be an intrinsic frequency as described herein.
method or methods may comprise locating a first electrode 40 The specified EEG frequency may be a pre-selected fre
operable to detect electrical brain activity on the subject in at quency as described herein. The pre-selected frequency may
least one of an area of low electrical resistivity on a subject be an average intrinsic frequency of a healthy population
and an area with Substantially no electrical impulse interfer database within a specified EEG band.
ence on a subject. The method or methods may further com                In some embodiments, a magnetic field results from a first
prise locating a second electrode operable to detect a refer 45 magnetic source and a second magnetic source. In some
ence signal on the Subject. The method or methods may embodiments, the first magnetic source and the second mag
further comprise determining the intrinsic frequency from the netic source are out of phase relative to each other. In some
electrical brain activity detected by the first electrode and the embodiments, the amount that the first magnetic source and
reference signal detected by the second electrode. In some the second magnetic source are out of phase relative to each
embodiments, determining the intrinsic frequency may com 50 other is called the magnetic phase.
prise removing the reference signal detected by the second              In some embodiments, the first portion of the treatment
electrode from the electrical brainactivity detected by the first Surface is the portion of the treatment Surface approximately
electrode. The method or methods may further comprise closest to the first permanent magnet, and wherein the second
determining the Q-factor of an intrinsic frequency of the portion of the treatment surface is the portion of the treatment
specified EEG band from the electrical brain activity detected 55 Surface approximately closest to the second permanent mag
by the first electrode and the reference signal detected by the net. In some embodiments, the first portion of the treatment
second electrode. In some embodiments, determining the surface is the portion of the treatment surface closest to the
Q-factor of an intrinsic frequency of the specified EEG band first permanent magnet that is intended to be approximately
comprises ascertaining the Q-factor from the electrical brain tangential to the head of the Subject nearest that treatment
activity detected by the first electrode and the reference signal 60 Surface, and wherein the second portion of the treatment
detected by the second electrode.                                    Surface is the portion of the treatment Surface approximately
   In some embodiments of the methods described herein, the          closest to the second permanent magnet that is intended to be
method or methods may comprise locating a first electrode approximately tangential to the head of the Subject nearest
operable to detect electrical brain activity on the subject in at that treatment Surface.
least a portion of the ear canal of the subject. The method or 65 In some embodiments of the devices disclosed herein, the
methods may further comprise locating a second electrode difference between the first rotational orientation and the
operable to detect a reference signal on the subject. The second rotational orientation results in a magnetic phase
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when the first permanent magnet is moved at the same fre              FIG. 4 shows an exemplary device in which the magnet
quency as the second permanent magnet. The magnetic phase rotates so that the plane of rotation is perpendicular to the
of the device may be operable to influence an EEG phase Surface of the scalp and a pair of electrodes is used to record
between a first site and a second site in the brain of a subject the EEG of the patient.
within a specified EEG band. The first site generally aligns          FIG. 5 shows a sample EEG segment for a subject before
with the first permanent magnet, and the second site generally     therapy  is delivered. The block on the left shows a time series
aligns with the second permanent magnet of the device.             EEG while the subject is sitting at rest with eyes closed. The
   Provided herein is a device comprising,                         block in the center shows the energy across the frequency
                                                                   spectrum for the sampled EEG. The vertical line drawn
   (a) a means for applying a first magnetic field to a head of 10 through
      a Subject; and                                                         the peaks is at 9.1 Hz, the subjects intrinsic alpha
   (b) a means for applying a second magnetic field to a head EEG energyThe
                                                                   frequency.        circle at the right shows the distribution of
                                                                                  at the intrinsic alpha frequency throughout the
      of a subject;                                                Scalp, looking down on the top of the Subjects head. In the
   whereby the means for applying the first magnetic field and circle     representation, the majority of the EEG energy at the
the means for applying the second magnetic field are capable 15 alpha frequency is concentrated at the back of the brain.
of influencing an EEG phase between at least two sites in a           FIG. 6 is similar to FIG. 5, except the EEG was sampled
brain of the subject of a specified EEG frequency.                 immediately following therapy. In this, it can be seen that the
   The magnetic fields (first magnetic field, and second mag energy associated with the intrinsic alpha frequency has
netic field) may be of the same frequency, but out of phase increased significantly. From the circle representation on the
with each other. Additional magnetic fields may be provided right, it can be seen that the distribution of energy at the
by additional means for applying Such magnetic fields. These intrinsic alpha frequency throughout the head is more uni
too may be out of phase with each other, or with any of the form, though the majority of energy is still concentrated at the
magnetic fields. Nevertheless, the magnetic fields in some back of the brain.
embodiments may have the same frequencies. The devices                FIG. 7 shows an exemplary embodiment of the pMERT or
may be a Permanent Magneto-EEG Resonant Therapy 25 NEST device. In this embodiment, a button EEG electrode is
(pMERT) (i.e. a Neuro-EEG Synchronization Therapy NEST located on the concave surface of the device and a second
device) as described herein. The specified EEG frequency reference electrode extends via a wire from the side of the
may be an intrinsic frequency as described herein. The speci device. The display and control buttons are located on top of
fied EEG frequency may be a pre-selected frequency as 30 the device to provide information and allow the user to adjust
described herein. The pre-selected frequency may be an aver parameters and enterpatient data. A USB port is located at the
age intrinsic frequency of a healthy population database top           rear of the device, to allow it to be connected via a USB
                                                                   cable to a PC, allowing uploading of data and downloading of
within a specified EEG band.                                       a dosage quota.
   In some aspects, is a device for use in treating a Subject,        FIG. 8 shows the pMERT or NEST device from FIG. 7 in
comprising: a Transcranial Magnetic Stimulation (TMS) 35 which             a subject is lying with the head against the concave
device; whereby the means for applying the magnetic field is Surface. At least one moving magnet is unseen inside the
capable of influencing (a) an intrinsic frequency of a brain of pMERT or NEST device in order to deliver therapy to the
the subject within a specified EEG band; (b) a Q-factor of an subject. The subjects head is pressed against the button EEG
intrinsic frequency of a brain of the subject within a specified electrode, with the second electrode attached to the subjects
EEG band; (c) a coherence of intrinsic frequencies among 40 right ear.
multiple sites in a brain of the subject within a specified EEG       FIG. 9 shows an alternate angle of the subject receiving
band; or (d) a combination thereof.                                therapy from the pMERT or NEST device as described in
                                                                     FIG 8.
           INCORPORATION BY REFERENCE                                  FIG. 10 shows some exemplary embodiments for various
                                                                45   movements of at least one permanent magnet.
   All publications and patent applications mentioned in this          FIGS. 11A through 11L show additional exemplary
specification are herein incorporated by reference to the same       embodiments for various movements of at least one perma
extent as if each individual publication or patent application nent magnet.
was specifically and individually indicated to be incorporated        FIG. 12 shows an example of the Q-factor as used in this
by reference.                                                   50 invention. The figure shows a sample graph of the frequency
                                                                   distribution of the energy of an EEG signal. It can be seen that
       BRIEF DESCRIPTION OF THE DRAWINGS                           a frequency range. Afcan be defined as the frequency band
                                                                   width for which the energy is above one-half the peak energy.
   A better understanding of the features and advantages of The frequency f is defined as the intrinsic frequency in the
the systems and methods provided will be obtained by refer 55 specified band. The Q-factor is defined as the ratio off/Af. As
ence to the following detailed description that sets forth illus can be seen, when AF decreases for a given f, the Q-factor
trative embodiments and the accompanying drawings of will increase. This can occur when the peakenergy E of the
which:                                                             signal increases or when the bandwidth of the EEG signal
   FIG. 1 shows an exemplary device in which the magnet decreases.
rotates so that the plane of rotation is perpendicular to the 60 FIG. 13 shows an example embodiment of a diametrically
Surface of the Scalp.                                              magnetized cylindrical magnet for use in a NEST device.
   FIG. 2 shows an exemplary device in which a horseshoe              FIG. 14 shows an example embodiment of a NEST device
magnet is positioned such that the plane of rotation is parallel having a diametrically magnetized cylindrical magnet rotat
to the surface of the scalp.                                       ing about its cylinder axis and applied to a Subject.
   FIG.3 shows an exemplary device which two bar magnets 65 FIG. 15 shows an example embodiment of a NEST device
are rotated synchronously to provide a more uniform phase having two diametrically magnetized cylindrical magnets
for the magnetic field in the brain.                               rotating about their cylinder axes and applied to a subject.
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    FIG.16 shows an example embodiment of a NEST device the art that such embodiments are provided by way of
having three diametrically magnetized cylindrical magnets example only. It should be understood that various alterna
rotating about their cylinder axes and applied to a subject.        tives to the embodiments described herein may be employed,
    FIG. 17 shows an example embodiment of a NEST device and are part of the invention described herein.
having three diametrically magnetized cylindrical magnets              Since brain activity is a distributed phenomenon, conven
configured to rotate about their cylinder axes.                     tional high-energy pulses used by rTMS that focus on a spe
    FIG. 18 shows an exploded view of the example embodi cific area of the brain may not be optimal for influencing the
ment of the NEST device of FIG. 17 having three diametri overall frequency of the brain. Instead of using short high
cally magnetized cylindrical magnets configured to rotate energy pulses at the desired frequency, it is possible instead
about their cylinder axes.
    FIG. 19 shows the example NEST device embodiment of use a sinusoidal or near-sinusoidal magnetic field (likely with
                                                                 10

FIG. 17 having three diametrically magnetized cylindrical lower energy) to generate a similar effect. To affect the brain
magnets configured to rotate about their cylinder axes and with           a lower energy magnetic field, the stimulation may need
                                                                    to be applied for a longer period.
including a frame and base for mounting the NEST device.
    FIG. 20 shows an example embodiment of a NEST device               In some embodiments, described are methods and devices
having eight diametrically magnetized cylindrical magnets 15 that provide low frequency sinusoidal or near-sinusoidal tran
configured to rotate about their cylinder axes.                     Scranial magnetic stimulation therapy by rotating one or more
    FIG. 21 shows the magnet rotation of the example NEST permanent magnets in close proximity to the Subjects head.
device embodiment of FIG. 20 having eight diametrically                Described are methods and systems for novel, inexpensive,
magnetized cylindrical magnets configured to rotate about easy to use therapy for a number of mental disorders.
their cylinder axes.                                                Described are methods and devices to treat mental disorders
    FIG.22 shows an example embodiment of a NEST device that involve no medication. Methods and devices described
having two axially polarized half-disc magnets that rotate herein gently “tune' the brain and affect mood, focus, and
about a common rotation axis.                                       cognition of Subjects.
    FIG. 23 shows an exploded view of an alternate embodi              In one aspectare methods of treating a subject, comprising:
ment of an example NEST device embodiment similar to that 25 (a) adjusting output of a magnetic field for influencing an
of FIG. 22 having two rectangular magnets that rotate about a intrinsic frequency of a specified EEG band of the subject
common rotation axis.                                               toward a pre-selected or target intrinsic frequency of the
    FIG. 24 shows an example embodiment of a NEST device specified EEG band; and (b) applying said magnetic field
similar to the embodiments depicted in FIGS. 22 and/or 23
having two magnets rotating about a common rotation axis 30 close      In
                                                                           to a head of the subject.
                                                                          another   aspect are methods of altering an intrinsic fre
applied to a subject and showing the controller Subunit.
    FIG. 25 shows block diagram of an example embodiment quency              of a brain of a subject within a specified EEG band,
of a NEST showing the elements of the NEST device and its comprising:              (a) determining the intrinsic frequency of the
                                                                    subject within the specified EEG band; (b) comparing the
controller subunit.
    FIG. 26 shows an example embodiment of a NEST device intrinsic frequency from step (a) to an average intrinsic fre
having a single bar magnet that moves linearly along its 35 quency of a healthy population database; (c) if the intrinsic
north-South axis once each time the Supporting ring is rotated, frequency from step (a) is higher than the average intrinsic
providing a pulse-type alternating magnetic field at the fre frequency of the healthy population database, shifting down
quency of rotation.                                                 the intrinsic frequency of the Subject by applying a specific
    FIG. 27 shows an example embodiment of a NEST device magnetic field close to a head of the Subject, wherein said
having an EEG electrode located in the subject’s ear canal, 40 specific magnetic field has a frequency lower than the intrin
and a reference EEG electrode located on an earlobe of the          sic frequency of the Subject; and (d) if the intrinsic frequency
Subject.                                                            from step (a) is lower than the average intrinsic frequency of
    FIG. 28 shows an example embodiment of a NEST device the healthy population database, shifting up the intrinsic fre
applied to a subject, wherein the NEST device has three quency of the Subject by applying a specific magnetic field
diametrically magnetized cylindrical magnets rotating about 45 close to a head of the Subject, wherein said specific magnetic
their cylinder axes having a magnetic phase between at least field has a frequency higher than the intrinsic frequency of the
two of the magnets that is not Zero.                                Subject.
    FIG. 29 shows the magnetic field strengths of two magnets          In another aspect are methods of treating a subject, com
moving at the same frequency at the same time, but having a prising:          (a) adjusting output of a magnetic field for influenc
magnetic phase relative to one another (out of phase relative 50 ing a Q-factor,     a measure of frequency selectivity of a speci
to each other).
    FIG. 30 shows a theoretical EEG electrode readings mea fied          EEG band, of the subject toward a pre-selected or target
sured at two locations on a subject’s head within a single EEG Q-factor of the band; and (b) applying said magnetic field
band when the two locations are exhibiting similar (or the close to a head of the subject.
same) frequency, but are out of phase relative to each other,          In another aspect are methods of treating a subject, com
i.e. displaying an EEG phase.                                    55 prising: determining the Q-factor of the intrinsic frequency
    FIG. 31 is a comparison of change in the HAMD score of within the specified EEG band of the subject; comparing the
Responders versus Non-Responders.                                   Q-factor of the intrinsic frequency from step (a) to an average
    FIG. 32 is a comparison of the change in HAMD scores Q-factor of the intrinsic frequency of a healthy population
Subjects receiving NEST therapy versus Subjects receiving database; if the Q-factor of the intrinsic frequency from step
SHAM (i.e. control) therapy.                                     60 (a) is higher than the average Q-factor of the intrinsic fre
    FIG.33 shows the change in HAMA score of two patients quency of the healthy population database, tuning down the
over a period of three weeks.                                       Q-factor of the intrinsic frequency of the Subject by applying
                                                                    a magnetic field with a plurality of frequencies or with a
     DETAILED DESCRIPTION OF THE INVENTION                          single pre-selected frequency close to a head of the Subject;
                                                                 65 and if the Q-factor of the intrinsic frequency from step (a) is
   While certain embodiments have been provided and lower than the average Q-factor of the intrinsic frequency of
described herein, it will be readily apparent to those skilled in the healthy population database, tuning up the Q-factor of the
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intrinsic frequency of the Subject by applying a magnetic field lation of people may be a set of people having a particular
with a pre-selected frequency to a head of the Subject.             trait, characteristic, ability, or feature. The population may be
   In another aspect are methods of treating a subject, com a healthy population of people. The population of people may
prising: (a) adjusting output of a magnetic field for influenc be a set of people not having a particular disorder, such as
ing a coherence of intrinsic frequencies among multiple sites 5 anxiety, depression, or other disorders mentioned herein. In
in a brain of the subject within a specified EEG band toward Some embodiments, the methods comprise measuring EEG
a pre-selected or target coherence value; and (b) applying said data of two sites in the brain of the Subject, and calculating the
magnetic field close to a head of the Subject                       EEG phase between the two sites in the brain of a subject. The
   In another aspect are methods adjusting output of a mag specified EEG frequency may be an intrinsic frequency as
netic field for influencing a coherence of intrinsic frequencies 10 described herein. The specified EEG frequency may be a
among multiple sites in a brain of the Subject within a speci pre-selected frequency as described herein. The pre-selected
fied EEG band toward a pre-selected or target coherence frequency may be an average intrinsic frequency of a healthy
value comprising: determining the coherence value of the population database within a specified EEG band.
intrinsic frequencies among multiple locations throughout a            In another aspect are methods for influencing an EEG
Scalp of the Subject; comparing the coherence value from step 15 phase of a specified EEG frequency between multiple loca
(a) to an average coherence value of a healthy population tions of a brain of a Subject, comprising: (a) determining the
database; if the coherence value from step (a) is higher than EEG phase the between at least two locations measured on the
the average coherence value of the healthy population data head of the subject; (b) comparing the EEG phase from step
base, lowering the coherence value of the Subject by applying (a) to an average EEG phase of a healthy population; and (c)
at least two asynchronous magnetic fields close to a head of applying a magnetic field close to a head of the Subject
the subject; if the coherence value from step (a) is lower than wherein applying the magnetic field influences the deter
the average coherence value of the healthy population data mined EEG phase toward the average EEG phase of a healthy
base, raising the coherence value of the Subject by applying at population.
least one synchronized magnetic field close to a head of the           In another aspect are methods for using a Transcranial
Subject.                                                         25 Magnetic Stimulation (TMS) device for influencing an EEG
   In another aspectare methods of using a Transcranial Mag phase of a Subject of a specified EEG frequency, comprising:
netic Stimulation (TMS) device for influencing an intrinsic (a) adjusting output of said TMS device; (b) changing the
frequency of a subject within a specified EEG band, compris EEG phase by repetitive firing of at least one magnetic field
ing: (a) adjusting output of said TMS device; (b) changing using said TMS device; and (c) applying said magnetic field
EEG frequency, Q-factor, or coherence by repetitive firing of 30 close to a head of the subject.
a magnetic field using said TMS device; and (c) applying said          FIG. 1 shows an exemplary device having a magnet 2
magnetic field close to a head of the subject;                      coupled to and rotated by a motor 72 in which the magnet 2
   In another aspect are methods for treating a Subject, com rotates so that the plane of rotation is generally perpendicular
prising: (a) adjusting output of a magnetic field for influenc to the surface of the scalp of the subject 6, and the rotation axis
ing an EEG phase between two sites in the brain of a subject 35 36 is generally parallel to at least a portion of the surface of the
of a specified EEG frequency toward a pre-selected EEG              scalp of the subject 6. The motor 72 is coupled to the magnet
phase of the specified EEG frequency; and (b) applying said 2 by a drive shaft 4, and the magnet rotation is controlled by
magnetic field close to a head of the Subject.                      a controller 58 (i.e. controller subunit) that can at least moni
   In another aspect are methods of treating anxiety in a tor and/or control the rotation of the magnet 2. Control of the
Subject, comprising tuning up the Q-factor of an intrinsic 40 rotation may include, for non-limiting example, the speed of
frequency of the Subject by applying a magnetic field close to rotation, and the acceleration and/or deceleration of rotation,
ahead of the Subject, wherein the magnetic field comprises at the time of rotation, and the direction of rotation (e.g. clock
least one of (a) a single pre-selected frequency; (b) a plurality wise, counter-clockwise).
offrequencies within a specified EEG band; and (c) an intrin           FIG. 2 shows an exemplary device in which a magnet 2 in
sic frequency of a brain of the subject within a specified EEG 45 the shape of a horseshoe is coupled to and rotated by a motor
band. In some embodiments, any of the devices described 72, and the magnet 2 is positioned Such that the plane of
herein may be used to treat anxiety.                                rotation is generally parallel to at least a portion of the Surface
   In some embodiments, are method of treating depression in of the scalp of the subject 6, and the rotation axis 36 is
a subject, comprising tuning down the Q-factor of an intrinsic generally perpendicular to at least a portion of the Surface of
frequency of the Subject by applying a magnetic field close to 50 the scalp of the subject 6. The motor 72 is coupled to the
ahead of the Subject, wherein the magnetic field comprises at magnet 2 by a drive shaft 4, and the magnet rotation is con
least one of (a) a single frequency; (b) a plurality of frequen trolled by a controller 58 (i.e. controller subunit) that can at
cies within a specified EEG band; and (c) an intrinsic fre least monitor and/or control the rotation of the magnet 2.
quency of a brain of the subject within a specified EEG band. Control of the rotation may include, for non-limiting
In some embodiments, any of the devices described herein 55 example, the speed of rotation, and the acceleration and/or
may be used to treat depression.                                    deceleration of rotation, the time of rotation, and the direction
   In some embodiments, the pre-selected EEG phase is lower of rotation (e.g. clockwise, counter-clockwise).
than the EEG phase between the two sites in the brain of the           FIG.3 shows an exemplary device which two bar magnets
subject. In some embodiments, the pre-selected EEG phase is 2a, 2b are coupled to and rotated by motors 72a, 72b, and the
any EEG phase lower than the EEG phase between the two 60 magnets 2a, 2b are rotated synchronously to provide a more
sites in the brain of the subject. In some embodiments, the uniform phase for the magnetic field in the brain of a subject
pre-selected EEG phase is higher than the EEG phase 6. The motors 72a, 72b are coupled to the magnets 2a, 2b,
between the two sites in the brain of the subject. In some respectively, by a drive shafts 4a, 4b, and the rotation of the
embodiments, the pre-selected EEG phase is any EEG phase magnets 2a and 2b about rotation axes 36a,36b, respectively,
higher than the EEG phase between the two sites in the brain 65 is controlled by a controller 58 (i.e. controller subunit) that
of the subject. In some embodiments, the pre-selected EEG can at least monitor and/or control the rotation of the magnet
phase is an EEG phase of a population of people. The popu 2a, 2b. Control of the rotation of the magnets may include, for
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non-limiting example, the speed of rotation, and the accelera           quency of a brain of the subject within a specified EEG band.
tion and/or deceleration of rotation, the time of rotation, and         In some embodiments, any of the devices described herein
the direction of rotation (e.g. clockwise, counter-clockwise).          may be used to treat depression.
The rotation of a single magnet (magnet 2a, for example),           In some embodiments, methods and/or devices as
may be controlled independently from and/or simultaneously described herein can be used to treat symptoms of fibromy
with the rotation of a second magnet (magnet 2b, for algia. In some embodiments, methods and/or devices as
example) by the controller 58. Additional magnets may be described herein can be used to improve symptoms of fibro
similarly added to the device. In another embodiment, a myalgia. For non-limiting example, some symptoms that may
single motor is coupled to a plurality of magnets, and each of be improved include widespread pain, tenderness to touch,
the magnets may be controlled by the controller, indepen 10 nausea dizziness, temporomandibular joint dysfunction, skin
dently or simultaneously.                                        problems, depression, myofascial pain, morning stiffness,
   In some embodiments, the magnetic field used by the meth sleep issues, headaches, chemical sensitivity, dysmenorrhea,
ods or devices are not capable of exciting brain cells. In some muscle twitches and weakness, fatigue, urinary and pelvic
embodiments, the magnetic field used by the methods or problems, fibro-fog cognitive and/or memory impairment,
devices are below thresholds of exciting brain cells. In some 15 anxiety, memory loss, breathing problems, and vision prob
embodiments, the devices described can have one or more                 lems.
permanent magnets mounted onto one or more rotating shafts                In some embodiments, methods and/or devices as
in Such a way that it creates an alternating magnetic field             described herein can be used to halt the onset of a seizure. In
when the shaft or shafts are spun. In some embodiments, the             Some embodiments, methods and/or devices as described
speed of rotation can be set by the user or controlled using            herein can be used to prevent the onset of a seizure. In some
neurological feedback to provide optimal therapy.                       embodiments, methods and/or devices as described herein
   Methods and devices described herein can be used to treat            can be used to reduce or eliminate seizures by detuning the
at least one mental disorder listed below:                              brain near the frequency of the seizures. In some embodi
  (a) Major depression;                                                 ments, methods and/or devices as described herein can be
  (b) Bipolar disorder;                                            25used to reduce or eliminate seizures by tuning up an area of
  (c) Schizophrenia;                                                 the brain (i.e., an intrinsic frequency in aband, such as alpha)
  (d) Anxiety disorder;                                              different than the seizure area of the brain, thereby reducing
  (e) Obsessive-Compulsive disorder;                                 the energy in the frequency associated with the seizure. The
  (f) ADHD;                                                          seizure may be caused by various conditions, diseases, inju
  (g) Autism;                                                     30 ries, and/or other factors. For non-limiting example, the con
  (h) Sleep disorder:                                                ditions may include abnormalities in the blood vessels of the
  j) Parkinson's disease:                                            brain, atherosclerosis, or hardening of the arteries supplying
  (k) Drug addiction;                                                the brain, bleeding into the brain, such as a Subarachnoid
  (1) Substance abuse:                                               hemorrhage, brain tumors, chromosomal abnormalities, con
  (m) Seizure;                                                    35 genital diseases or conditions, high blood pressure, preg
  (n) Head Injury:                                                   nancy and problems associated with pregnancy, stroke, tran
  (o) Alzheimer's disease;                                           sient ischemic attack (mini-stroke). For non-limiting
  (p) Eating disorder,                                               example, the diseases may include liver disease, Alzheimer's
  (q) Tinnitus; and                                                  disease, dementia diseases, epilepsy, nervous system dis
  (r) Fibromyalgia.                                               40 eases, hereditary diseases, infections involving the brain,
   In some embodiments, methods and devices described                encephalitis, brain abscess, bacterial meningitis, kidney fail
herein can be used to treat at least two mental disorders listed     ure, and chronic renal failure. For non-limiting example, the
above. In some embodiments, methods and devices described            injuries may include choking, head injuries, electrical inju
hereincan be used to treat at least three mental disorders listed    ries, birth injuries, poisonous bites or stings.
above. In some embodiments, methods and devices described 45              Methods and devices described herein can be used to
hereincan be used to treat at least four mental disorders listed    improve at least one indication selected from the group con
above. In some embodiments, methods and devices described           sisting of replacement for meditation, quick nap, stress
herein can be used to treat at least five mental disorders listed   release, attention span, comprehension, memory, lowered
above. In some embodiments, methods and devices described           blood pressure, increased libido, sports performance, aca
herein can be used to treat at least six mental disorders listed 50 demic performance, and any combination thereof. In some
above. In some embodiments, methods and devices described               embodiments, methods and devices described herein can be
herein are not used to treat Schizophrenia.                       used to improve at least two indications from the group pre
   In another aspect are methods of treating anxiety in a sented above. In some embodiments, methods and devices
Subject, comprising tuning up the Q-factor of an intrinsic described herein can be used to improve at least three indica
frequency of the Subject by applying a magnetic field close to 55 tions from the group presented above. In some embodiments,
ahead of the Subject, wherein the magnetic field comprises at methods and devices described herein can be used to improve
least one of (a) a single pre-selected frequency; (b) a plurality at least four indications from the group presented above. In
offrequencies within a specified EEG band; and (c) an intrin some embodiments, methods and devices described herein
sic frequency of a brain of the subject within a specified EEG can be used to improve at least five indications from the group
band. In some embodiments, any of the devices described 60 presented above. In some embodiments, methods and devices
herein may be used to treat anxiety.                              described herein can be used to improve at least six indica
   In some embodiments, are method of treating depression in tions from the group presented above.
a subject, comprising tuning down the Q-factor of an intrinsic       In some embodiments, methods and devices described
frequency of the Subject by applying a magnetic field close to herein can be used to improve at least one indication from the
ahead of the Subject, wherein the magnetic field comprises at 65 group presented above, and at least one mental disorder listed
least one of (a) a single frequency; (b) a plurality of frequen above. In some embodiments, methods and devices described
cies within a specified EEG band; and (c) an intrinsic fre herein can be used to improve at least one indication from the
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group presented above, and at least two mental disorders           the group presented above, and at least one indication pre
listed above. In some embodiments, methods and devices             sented above. In some embodiments, methods and devices
described herein can be used to improve at least two indica       described herein can be used to improve at least one charac
tions from the group presented above, and at least one mental     teristic from the group presented above, and at least two
disorder listed above. In some embodiments, methods and           indications presented above. In some embodiments, methods
devices described herein can be used to improve at least two and devices described herein can be used to improve at least
indications from the group presented above, and at least two two characteristics from the group presented above, and at
mental disorders listed above. In some embodiments, meth          least one indication presented above. In some embodiments,
ods and devices described herein can be used to improve at methods and devices described herein can be used to improve
least one indication from the group presented above, and at 10 at least two characteristics from the group presented above,
least three mental disorders listed above. In some embodi
ments, methods and devices described herein can be used to        and at least two indications presented above. In some embodi
improve at least two indications from the group presented improve ments, methods and devices described herein can be used to
above, and at least three mental disorders listed above. In                 at least one characteristic from the group presented
some embodiments, methods and devices described herein         15 above,  and  at least three indications presented above. In some
can be used to improve at least three indications from the embodiments, methods and devices described herein can be
group presented above, and at least three mental disorders used to improve at least two characteristics from the group
listed above. In some embodiments, methods and devices            presented above, and at least three indications presented
described herein can be used to improve at least three indica above. In some embodiments, methods and devices described
tions from the group presented above, and at least two one herein can be used to improve at least three characteristics
mental disorders listed above.                                    from the group presented above, and at least three indications
   Methods and devices described herein can be used to            presented above. In some embodiments, methods and devices
improve at least one characteristic selected from the group described herein can be used to improve at least three char
consisting of peripheral visual response, attention span, acteristics from the group presented above, and at least two
immediate reaction time (IRT), movement time (MT), simple 25 one indications presented above.
perceptual reaction time (SPR), conflict perceptual reaction         Methods and devices described herein can be used to pro
time (CPR), and any combination thereof. In some embodi vide an improvement to a mental disorder as measured using
ments, methods and devices described herein can be used to        a rating scale selected from the group consisting of HAMA,
improve at least two indications from the group presented HAMD, PANSS, MADRS, BARS, SAS, and any combina
above. In some embodiments, methods and devices described 30 tion thereof. In some embodiments of at least one aspect
herein can be used to improve at least three indications from described above, the method provides an improvement as
the group presented above. In some embodiments, methods measured using the Unified Parkinson's Rating Scale. In
and devices described herein can be used to improve at least Some embodiments of at least one aspect described above, the
four indications from the group presented above. In some method provides an improvement as measured using a modi
embodiments, methods and devices described herein can be 35 fied Unified Parkinson's Rating Scale. The modified Unified
used to improve at least five indications from the group pre Parkinson's Rating Scale may include, for non-limiting
sented above. In some embodiments, methods and devices            example, measuring muscle tone and knee/arm flexibility.
described herein can be used to improve at least six indica          In some embodiments, the pMERT (permanent Magneto
tions from the group presented above.                             EEG Resonant Therapy) device (i.e. the NEST device) com
   In some embodiments, methods and devices described 40 prises one or more powerful magnets (>5000 G each) that
herein can be used to improve at least one characteristic from rotate at a specific frequency or frequencies to bring about the
the group presented above, and at least one mental disorder desired therapy. A single, dual, or multi-channel EEG is
listed above. In some embodiments, methods and devices            incorporated in the device to acquire a sample EEG segment
described herein can be used to improve at least one charac and determine the alpha frequency distribution. From this
teristic from the group presented above, and at least two 45 information, the device controls the frequency of rotation of
mental disorders listed above. In some embodiments, meth          the magnet or magnets to deliver therapy.
ods and devices described herein can be used to improve at           FIG. 4 shows an exemplary device in which the magnet 2
least two characteristics from the group presented above, and rotates so that the plane of rotation is generally perpendicular
at least one mental disorder listed above. In some embodi         to the surface of the scalp of a subject 6 and a bio-feedback
ments, methods and devices described herein can be used to 50 sensor and/or EEG electrode 82a is used to control the speed
improve at least two characteristics from the group presented of rotation about the rotation axis 36. The rotation of the
above, and at least two mental disorders listed above. In some    magnet 2 is driven by a motor 72 which is coupled to a drive
embodiments, methods and devices described herein can be          shaft 4, and the drive shaft 4 is coupled to the magnet 2. In
used to improve at least one characteristic from the group some embodiments at least two EEG electrodes, 82a, 82b are
presented above, and at least three mental disorders listed 55 used to control the speed of rotation, wherein at least one EEG
above. In some embodiments, methods and devices described         electrode, for example EEG electrode 82b, is used as a refer
hereincan be used to improve at least two characteristics from ence electrode (and/or a ground electrode). The electrodes,
the group presented above, and at least three mental disorders 82a, 82b may be connected to an amplifier 80 which can
listed above. In some embodiments, methods and devices            amplify the signal received from the electrodes, 82a, 82b. The
described herein can be used to improve at least three char 60 magnet rotation may be controlled and/or monitored by a
acteristics from the group presented above, and at least three controller subunit (controller), 58, which may also receive,
mental disorders listed above. In some embodiments, meth          record, and/or display the signal or signals received from the
ods and devices described herein can be used to improve at EEG electrodes 82a, 82b. In some embodiments, the reading
least three characteristics from the group presented above, from a reference EEG electrode, for example EEG electrode
and at least two one mental disorders listed above.            65 82b, is subtracted and/or otherwise removed from the reading
   In some embodiments, methods and devices described             from the second EEG electrode, for example EEG electrode
herein can be used to improve at least one characteristic from 82a. In some embodiments, the bio-feedback sensor/EEG
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electrode is used, at least in part, to determine the Subsequent   intrinsic alpha frequency throughout the head is more uni
treatment regimen for the Subject.                                 form, though the majority of energy is still concentrated at the
  In some embodiments, the EEG electrodes are used to              back of the brain.
measure the brain waves of the subject at various times, for The pMERT Device (NEST Device)
non-limiting example, prior to applying a method of treat        Devices described may contain a plurality of magnets, and
ment as provided herein using a device described herein,      a plurality of magnets may be used to form an array to pro
during application of a method of treatment as provided duce a desired magnetic field. Such magnetic field can be a
                                                              pulsing or temporally variable unipolar magnetic field where
herein using a device described herein, and/or after applying treatments
a method of treatment as provided herein using a device 10 cific pole. are performed with a magnetic field having a spe
described herein. In some embodiments, the EEG electrodes             In some embodiments of a device or devices as described
are used to measure the brain waves of the subject at various
times, for non-limiting example, prior to using a device herein,        the device is operable to influence an intrinsic fre
                                                                quency of the brain of a subject within a specified EEG band.
described herein, during use of a device described herein, A device as described herein may be operable to influence a
and/or after using a device described herein. In some embodi 15 Q-factor of an intrinsic frequency of the brain of a subject
ments, the EEG electrodes are used to measure the brain         within a specified EEG band. A device as described herein
waves of the subject continuously for a specified period of may be operable to influence a coherence of intrinsic frequen
time. In some embodiments the specified period of time is for cies among multiple sites in the brain of a subject within a
non-limiting example, at least about one hour, at least about specified EEG band. A device as described herein may be
45 minutes, at least about 40 minutes, at least about 30 min    operable to influence a EEG phase of intrinsic frequencies
utes, at least about 20 minutes, at least about 15 minutes, at  among multiple sites in the brain of a Subject within a speci
least about 10 minutes, at least about 5 minutes, at least about   fied EEG band.
1 minute, at least 30 seconds, at least about 10 seconds, at         In some embodiments, a method of treating a subject com
least about 5 seconds, and at least about 1 second. The term      prises: (a) adjusting output of a magnetic field for influencing
“about when referring to the specified period of time of use 25 a Q-factor, a measure of frequency selectivity of a specified
of the EEG electrodes to measure brain waves can mean             EEG band, of the subject toward a pre-selected or target
variation of, for example, 1 minute to 5 minutes, 30 seconds Q-factor of the band; and (c) applying said magnetic field
to 1 minute, 15 seconds to 30 seconds, 5 seconds to 15            close to a head of the subject.
seconds, 1 second to 10 seconds, 1 second to 5 seconds, 0.5 30 In some embodiments, devices described can comprise a
seconds to 1 second, and 0.1 seconds to 0.5 second.               Substantially planar member upon which are affixed a plural
   In some embodiments, the intrinsic frequency of the Sub permit ity of magnets. Thus, the magnets may be oriented so as to
ject is an alpha frequency of a brain of the Subject. In some uniformapplication
                                                                            polarity to
                                                                                        of a magnetic field having a substantially
                                                                                        a user. In some embodiments, the magnets
embodiments, alpha EEGofa brain of a subject can be critical may also be positioned
in normal cognitive processes and the desynchronization of 35 have opposite polarities.on the array so that adjacent magnets
alpha activity can play apathophysiological role in the mental       In some embodiments, the devices described may be con
disorders listed above. In some embodiments, the therapy figured so as to restrict, in one or more directions, the move
using methods or systems described lasts for about 20 min ment of the magnet within the devices, thereby enabling
utes, is very gentle, and unnoticeable to the Subject. In some selection of the polarity of the magnetic field to which the user
embodiments, the quantifiable change in alpha frequency can 40 is Subjected. For example, magnets may be placed within the
be seen clearly following the therapy session, and the patient devices described so that one face of the magnet is always
may have an immediate reduction in Symptoms. The therapy pointing toward a head of a Subject. Accordingly, the Subject
using methods or systems described can be mild enough to be is subjected to a dynamic magnetic field having a specific
used every day or as needed. The therapy using methods or polarity.
systems described does not have to involve any medication 45 In some embodiments, the devices described comprise at
whatsoever.                                                       least one rotating mechanism. In some embodiments,
   “Patient' and “subject” are synonyms, and are used inter mechanical subunits including cams, gears and/or linkages
changeably. As used herein, they mean any animal (e.g. a may be utilized to move at least one magnet. These mechani
mammal) on which the inventions described herein may be cal Subunits may be powered through motorized means or
practiced. Neither the term “subject nor the term “patient' is 50 may be connected to other devices moving in the Surrounding
limited to an animal under the care of a physician.               environment which will cause the mechanical device to move
   FIG. 5 shows a sample EEG segment for a subject before the magnet. An external exciter magnet may be positioned
therapy is delivered. The block on the left shows a time series near the devices described, where the external exciter magnet
EEG while the subject is sitting at rest with eyes closed. The generating a Sufficiently strong magnetic field to cause move
block in the center shows the energy across the frequency 55 ment of at least one magnet contained within the devices
spectrum for the sampled EEG. The vertical line drawn described.
through the peaks is at 9.1 Hz, the subjects intrinsic alpha         In some embodiments, magnets of the devices described
frequency. The circle at the right shows the distribution of can be rotated by a rotating mechanism other than a motor. In
EEG energy at the intrinsic alpha frequency throughout the Some embodiments, the devices comprise at least one orifice
head, looking down on the top of the subject’s head. In the 60 so that a stream of fluid Such as a gas or liquid may be forced
circle representation, the majority of the EEG energy at the into the devices, wherein the stream offluid being sufficiently
alpha frequency is concentrated at the back of the brain.         strong so as to move at least one magnet, thus creating relative
   FIG. 6 is similar to FIG. 5, except the EEG was sampled movement between the at least one magnet and a head of a
immediately following therapy. In this, it can be seen that the Subject.
energy associated with the intrinsic alpha frequency has 65 While permanent magnets of any strength may be utilized
increased significantly. From the circle representation on the for the methods and devices described herein, generally mag
right, it can be seen that the distribution of energy at the nets having strengths within the range of about 10 Gauss to
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about 4 Tesla can be used. In some embodiments, the strength         application area is Subjected to a South pole field of increasing
of at least one permanent magnet is from about 100 Gauss to          intensity until the South pole is closest to the application area
about 2 Tesla. In some embodiments, the strength of at least         where the application area is subjected to a “full south pole
one permanent magnet is from about 300 Gauss to about 1              field. By rotating in this fashion, the object is subjected to a
Tesla.                                                               “full waveform.” Likewise, the application area is also subject
   In some embodiments, the permanent magnets for the to a “full waveform when the magnet rotates from the south
methods and devices described comprise rare earth magnets pole to the north pole. As used herein, a South pole may also
Such as neodymium, iron, boron or Samarium cobalt magnets. be referred to as “negative. (-), or S, and a north pole may
In some embodiments, the permanent magnets for the meth also be referred to as “positive. (+), or N.
ods and devices described are neodymium iron boron mag 10 For example, FIG. 10A through FIG. 10G show some
nets. In some embodiments, ceramic magnets, electromag exemplary embodiments for various movements of at least
nets or other more powerful magnets may be utilized as they one permanent magnet. FIG. 10A shows a graph of the mag
become available. In some embodiments, electromagnets netic field over time. That is, it shows a graph92a expressing
may be utilized for the methods and devices described. Cur an example magnetic field experienced by a Subject 6a as a
rent can be supplied to the electromagnetby wires penetrating 15 magnet 2a rotation about an axis between the north pole (+)
through the devices described and connecting to an external and South pole (-) of the magnet 2a. The position of the
power source.                                                        magnet relative to the Subject 6a and the field strength (+ or -,
   Described are magnetic therapeutic devices and methods amplitude can vary, depending on for example, the applica
for magnetic therapies where a brain of a Subject is Subject to tion, method, magnet and therapy being delivered) is shown
at least one dynamic magnetic field having an amplitude of at in FIG. 10A. For example at Time-0, the subject 6a may
least a half waveform. In certain embodiments, the treatment         experience no magnetic field (i.e. a neutral field) when the
area is exposed to a half waveform of magnetic flux. In other magnet’s north pole is equally as far from the Subject 6a as the
embodiments, the treatment area is exposed to a full wave magnet’s South pole (assuming the north pole and South pole
form of magnetic flux. Still other embodiments may permit have equal strengths yet opposite polarities). As the magnet
treatment area to be exposed to either a half or full waveform. 25 2a spins such that the South pole of the magnet 2a is closest to
To subject the treatment area to Such a dynamic magnetic the Subject 6a, the Subject 6a experiences a negative magnetic
field, the magnetic source may be rotated, oscillated, moved field, as shown in FIG. 10a, and as the magnet 2a spins
through a particular pattern, or otherwise moved relative to a further, the Subject 6a is exposed to a changing magnetic field
head of a subject. The application area of the subject can be from, for example, a neutral field, to a negative field, to a
positioned relative to the magnetic source so that the mag 30 neutral field, to a positive field, and so on. As further shown in
netic field extends around and/or through the application area.      FIG. 10A, an array of magnets (i.e. a plurality) may be used
In certain embodiments, the devices described comprise at alternatively to a single magnet to provide a more uniform
least one magnet having a north and South magnetic pole and field to the subject’s brain. FIG. 10A shows a subject 6a1
a pole width equal to the width of the magnet at the poles.          exposed to an array of nine rotating magnets, as well as a
   Three parameters of magnetic fields generated by the 35 Subject 6a2 exposed to an array of five rotating magnets. In
devices described can be manipulated:                                Some embodiments, any number of rotating magnets may be
   (a) the intensity of the magnetic field at the treatment site, used to provide a more uniform field to the subject's brain.
      which can be determined by the strength of the magnets            Various exemplary wave forms resulting from embodi
      used and the distance between the magnets and the Sub ments of the devices and methods provided herein are shown
      jects head;                                                 40 in FIG. 10B through FIG. 10G. For example, FIG. 10B shows
   (b) the frequency of the magnetic field, i.e., the rate of a full waveform in the form of a step function where a mag
      change of the magnetic field, which can be determined netic field cycles through a sequence wherein the magnetic
      by movements of at least one magnet, Such as by varying field is positive (+) then neutral, then negative (-), then neu
      the speed at which at least one magnet moved relative to tral, and repeats. FIG. 10C shows a halfwaveform in the form
      the application area;                                       45 of a step function where a magnetic field cycles through a
   (c) the amplitude of the net change in magnetic flux (or sequence wherein the magnetic field is positive (+) then neu
      waveform) to which the application area is Subjected, tral, and repeating this sequence. FIG. 10D shows an alterna
      and                                                            tive a half waveform in the form of a step function where a
   (d) the phase of the magnetic field between two (or more) magnetic field cycles through a sequence wherein the mag
      magnets (i.e. the magnetic phase) when the magnetic 50 netic field is positive (+) then off (or neutral), remaining off
      field frequencies of the two (or more) magnets are the (neutral) for a longer period of time than remaining positive
      same (or Substantially the same).                              (+), and repeating this sequence. FIGS. 10E, 10F and 10G.
   As to the amplitude of the net change in magnetic flux, it is each show example full wave forms resulting from embodi
generally known that permanent magnets have a north pole ments of a NEST device having at least one magnet wherein
and Southpole, with north pole magnetic flux emanating from 55 the magnets, or magnets’ north pole and South pole alterna
the north pole, and South pole magnetic flux emanating from tively change distances from the Subject in a regular pattern.
the South pole. In some embodiments, the application area is By shielding a pole of the magnets of the array, half wave
subject to a “full waveform” according to the devices and forms may be created using the same array of magnets, for
methods described. For example, when a permanent magnet example shielding as shown in FIG. 11C and/or FIG. 11D,
rotates relative to an application area, the application area 60 discussed further below.
may initially be subjected to a “full north pole field' where the       In some embodiments, the application area is Subject to a
north pole of the magnet is closest to the application area. As “half waveform” according to the devices and methods
the north pole rotates away from the application area and the described. For example, an object may be subjected to a “half
South pole rotates toward the application area, the strength of waveform where the magnet rotates relative to the applica
the north pole field decreases until a “neutral field' is encoun 65 tion area from a full north pole field to a neutral field or from
tered, approximately at the midpoint of the magnet. As the full south pole field to a neutral filed. In some embodiments,
South pole continues to rotate toward the application area, the the “half waveform’ treatment can be achieved by limiting
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rotation or movement of the magnets. In some embodiments,           magnetic  flux for the particular subject. FIG. 11D is similar to
the “half waveform’ treatment can be achieved by shielding FIG. 11C but with the magnet 102d having opposite polarity
the north pole or South pole of the magnet, leaving only the to the magnet 102c of FIG. 11C. FIG. 11D shows single
other pole exposed for the treatment of the application area.       magnet 102d having a shield 194 covering the south pole of
   To Subject the treatment area to a dynamic magnetic field the magnet 102d.
by the methods and devices described herein, the magnetic              FIG. 11E shows another embodiment device having a
Source may be rotated, oscillated, moved through a particular single magnet 102e that Swings with pendulum-like motion
pattern, or otherwise moved relative to the treatment area. In along a pendulum path 198, the pendulum path 198 at least in
Some embodiments, the magnetic source is rotated about an part defined by the distance between magnet 102e and the
axis. In some embodiments, the magnetic source is oscillated 10 pendulum pivot 96. In the shown embodiment, the south pole
with respect to the application area. In some embodiments,          (S) of the magnet 102e is farther from the pendulum pivot 96
the magnetic source has a linear movement with respect to the than the north pole (N) of the magnet 102e. In the embodi
application area. Such linear movement can be like a piston ment of FIG. 11E, the subject (not shown) could be posi
movement. In some embodiments, the magnetic source has a tioned, for example, such that the pendulum path 198 is
Swing motion with respect to the application area. Such Swing 15 generally perpendicular with the scalp of the Subject, or
motion can be like a Swinging pendulum movement. In some wherein the pendulum path 198 is generally parallel to the
embodiments, the magnetic source has a combination of rota Scalp of the Subject, depending on the desired waveform
tion, linear, oscillated, and Swing movements. In some and/or magnetic flux for the particular subject. FIG. 11F has
embodiments, the magnetic source has any combination of similar characteristics to FIG. 11E, but with the magnet 102f
rotation, linear, oscillated, and Swing movements. In some of FIG. 11F having opposite polarity to magnet 102e of FIG.
embodiments, said movement comprises at least one of rota 11E.
tional motion, linear motion, and Swing motion.                        FIG. 11G depicts another embodiment device having a
   In some oscillatory embodiments, a plurality of magnets single magnet 102g that is configured to spin about a rotation
are fixedly mounted on a Supporting plate, the magnets being axis 138 positioned in the north pole region of the magnet
spaced apart from each other so that the each magnetis spaced 25 102g (i.e. somewhere between the neutral plane of the magnet
apart from the next nearest magnets by at least one pole width. and the north pole (N) end of the magnet 102g). The rotation
Each magnet may be positioned so that the upwardly facing axis 138 is generally parallel to the neutral plane (not shown)
pole of each magnet is the same. For example, in one con of the magnet 102g. In the embodiment of FIG. 11G, the
figuration, the north pole face of each magnetis mounted to a Subject (not shown) could be positioned, for example, Such
Supporting plate. In an alternate configuration, the South pole 30 that the rotation axis 138 is generally perpendicular with the
face of each magnet is mounted to a Supporting plate. By scalp of the subject, or wherein the rotation axis 138 is gen
laterally displacing magnets so arranged proximate to an erally parallel to the scalp of the subject, depending on the
application area, Such area is Subjected to a repeating half desired waveform and/or magnetic flux for the particular
waveform (full north to Zero to full north). In another embodi subject. FIG. 11H is similar to FIG. 11G but with the magnet
ment, by reversing the polarity of the magnets proximate to 35 102h having opposite polarity to the magnet 102g of FIG.
the application area, such area is subjected to a repeating half 11G, and wherein the rotation axis 138 positioned in the south
waveform (full south to Zero to full south).                        pole region of the magnet 102h (i.e. somewhere between the
   In some oscillatory embodiments, a plurality of elongated neutral plane of the magnet and the south pole (S) end of the
magnetic sources are placed adjacent to each other so that a magnet 102h).
repeating pattern of alternating magnetic poles are formed, 40 FIG. 11J shows another embodiment device having a
the poles being spaced apart by a predetermined distance. The single magnet 102i mounted a distance away from the rota
oscillation of the magnetic sources by a distance equal to or tion axis 138 of the device, and having the north pole (N) of
greater than the predetermined distance Subjects an applica the magnet 102i closer to the rotation axis 138 than the south
tion area to a complete reversal of magnetic flux, i.e., a full pole (S) of the magnet 102i. In the embodiment of FIG. 11J,
waveform.                                                        45 the Subject (not shown) could be positioned, for example,
   FIGS. 11A through 11L show additional exemplary such that the rotation axis 138 is generally perpendicular with
embodiments for various movements of at least one perma the scalp of the subject, or wherein the rotation axis 138 is
nent magnet. FIG. 11A shows two magnets 102a1, 102a2 generally parallel to the scalp of the Subject, depending on the
coupled to each other and spun about a rotation axis 138a. In desired waveform and/or magnetic flux for the particular
the embodiment of FIG. 11A, the subject (not shown) could 50 subject. FIG. 11K is similar to FIG. 11J but with the magnet
be positioned, for example, such that the rotation axis 138 is      102R having opposite polarity to the magnet 102i of FIG. 11J.
generally perpendicular with the scalp of the Subject, or              FIG. 11L depicts an alternate embodiment device having a
wherein the rotation axis 138 is generally parallel to the scalp single arc-like magnet 1021 (which may be, for example, a
of the subject, depending on the desired waveform and/or horseshoe magnet), that is coupled to a drive shaft 104 aligned
magnetic flux for the particular subject. FIG. 11B is similar to 55 with the rotation axis 138. As the drive shaft 104 spins about
FIG. 11A but with the magnets 102b1,102b2 having opposite the rotation axis 138, the magnet 102d likewise rotates about
polarity to the magnets 102a1, 102a2 of FIG. 11A.                   the rotation axis 138. In the embodiment of FIG. 11L, the
   FIG. 11C depicts another embodiment device having a Subject (not shown) could be positioned, for example, Such
single magnet 102c having a shield 194 covering the north that the rotation axis 138 is generally perpendicular with the
pole of the magnet 102c. The magnet 102c spins about a 60 scalp of the subject, or wherein the rotation axis 138 is gen
rotation axis 138 along the neutral plane of the magnet (i.e. erally parallel to the scalp of the Subject, depending on the
between the north and southpoles of the magnet 102c). In the desired waveform and/or magnetic flux for the particular
embodiment of FIG. 11C, the subject (not shown) could be Subject.
positioned, for example, such that the rotation axis 138 is           The phrase “continuously applied' or “continuous appli
generally perpendicular with the scalp of the Subject, or 65 cation” refer to treatments where an application area is Sub
wherein the rotation axis 138 is generally parallel to the scalp ject to at least one magnetic field with a full waveform or a
of the subject, depending on the desired waveform and/or half waveform for a period of time typically longer than 2
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minutes. Such phrases are distinguished from short pulse            having a magnetic phase 2991 relative to one another (out of
application (typically microseconds) of a magnetic field.           phase relative to each other). The magnetic field strengths in
   In some embodiments, the devices described can be pow            this graph are plotted with time on the X axis, and magnetic
ered with a rechargeable battery. One battery charge can be         field strength on the y axis (with two X axis, to show the
enough for one or more therapy sessions. In some embodi             relative field strengths of each magnet simultaneously). As
ments, a display can indicate battery life remaining and signal     depicted in FIG. 29, a first magnetic source and a second
when the device should be recharged.                                magnetic Source may be out of phase relative to each other in
   In some embodiments, the devices described use at least          order to influence the EEG phase of the subject. In some
one connection to a computer to allow for upload of therapy embodiments, the amount that the first magnetic source and
information, download of Software upgrades, and to order 10 the second magnetic source are out of phase relative to each
more sessions to be allowed for the device. The connection          other is called the magnetic phase 2991. The magnetic phase
may be a USB type of connection, or another type of connec may be measured peak to peak (i.e. peak of the first magnets
tion known or contemplated.                                         field strength to peak of the second magnet’s field strength—
   The speed of rotation can be critical to the specific therapy as shown in FIG. 29, at 2991), or trough to trough, or inflec
that is delivered. Therefore, in some embodiments, the speed 15 tion to inflection, or any similar plot characteristic on both of
of rotation is tightly controlled. In some embodiments, the the magnets field strength graphs.
speed setting may be set by the user or may be set by a                In some embodiments, the first portion of the treatment
controller that uses a biological sensor as feedback to opti Surface is the portion of the treatment Surface approximately
mize the magnetic field frequency.                                  closest to the first permanent magnet, and wherein the second
   In some embodiments, the methods and devices described           portion of the treatment surface is the portion of the treatment
use at least one bio-feedback sensor, the sensor can bean EEG       Surface approximately closest to the second permanent mag
lead placed on the scalp, along with a reference electrode that net. For example, in FIG. 28, the treatment surface 2899
can be placed in an area of little sensed brain activity. When extends between the magnets 2802a, 2802b, 2802c and the
more than one EEG sensor is used, correlation information           head of the subject 2806. The first portion of the treatment
can begained among separate areas of the brain. The EEG and 25 surface is that portion of the treatment surface 2899 between
reference leads can be connected through a differential ampli the first magnet 2802a and the nearest portion of the head of
fier to a controller module that regulates the speed of at least the subject 2806, Likewise, the second portion of the treat
one motor to rotate at least one magnet above the scalp.            ment surface is that portion of the treatment surface 2899
   Sensing EEG with a magnet rotating in the vicinity can be between the second magnet 2802b and the nearest portion of
difficult, since the magnet can affect the electrode. To allow 30 the head of the subject 2806. In some embodiments, the first
proper EEG measurement, a technique may be used to Sub portion of the treatment surface is the portion of the treatment
tract the pure sine wave from the sensed EEG. In some surface closest to the first permanent magnet that is intended
embodiments, the magnet rotation can be stopped tempo to be approximately tangential to the head of the Subject
rarily in order to take an EEG measurement that does not nearest that treatment Surface. In some embodiments, the
include the effect of the rotating magnet.                       35 second portion of the treatment surface is the portion of the
   Provided herein is a device operable to influence an EEG treatment Surface approximately closest to the second perma
phase between two sites in the brain of a subject 2806 within nent magnet that is intended to be approximately tangential to
a specified EEG band, for example, as shown in FIG. 28. Any the head of the subject nearest that treatment surface.
of the devices described herein may be used to influence the           In some embodiments of the devices disclosed herein, the
EEG phase between two sites in the brain of a subject within 40 difference between the first rotational orientation and the
a specified EEG band. The device may comprise at least two second rotational orientation results in a magnetic phase
permanent magnets 2802a, 2802b, wherein the subunit (not when the first permanent magnet is moved at the same fre
shown in FIG. 28, but shown in other figures, for example, quency as the second permanent magnet. As shown in FIG.
FIGS. 1-4, 24, 25, 27) of the device is coupled to both the first 28, for non-limiting example, the first magnet 2802a has a
and the second magnet, and wherein the subunit enables 45 rotational orientation relative to the treatment surface 2899
movement of the second magnet at a frequency between that is different than the rotational orientation of second mag
about 0.5 Hz and about 100 Hz. The subunit may enable net 2802b. The first magnet 2802a has a rotational orientation
movement of the second magnet at a frequency between wherein its neutral axis nearly parallel (or tangential, where
about 2 Hz, and about 20 Hz. The subunit may enable move the treatment surface is curved) to the treatment surface 2899
ment of the first and second magnet at the same frequencies. 50 nearest it, with its north pole closest to the treatment surface
   FIG. 28 shows an example embodiment of a NEST device 2899. The second magnet 2802b has a rotational orientation
applied to a subject 2806, wherein the NEST device has three wherein its neutral axis that is nearly perpendicular to the
diametrically magnetized cylindrical magnets 2802a, 2802b, treatment surface 2899 nearest it, with its north pole only
2802c, rotating about their cylinder axes having a magnetic slightly closer to the treatment surface 2899 than its south
phase between at least two of the magnets that is not Zero. As 55 pole. Relative to the treatment Surface nearest each magnet,
shown in FIG. 27. a first permanent magnet 2802a of a device thus, the first magnet 2802a has a rotational orientation that is
operable to influence an EEG phase may have a first rotational offset from the rotational axis of the second magnet 2802b by
orientation relative to a treatment surface 2899 of the device      around 90 degrees. The first rotational orientation relative to
and the second permanent magnet 2802b may have a second a first portion of a treatment surface of the device may be
rotational orientation relative to the treatment surface 2899 of 60 between at least about 0 degrees and about 360 degrees dif
the device. The device may be operable to move the first ferent from the second rotational orientation relative to a
permanent magnet 2802a at the same frequency as the second second portion of the treatment surface of the device. The first
permanent magnet 2802b.                                             rotational orientation relative to a first portion of a treatment
   In some embodiments, a magnetic field results from a first surface of the device may be at least one of between at least
magnetic source and a second magnetic source. FIG. 29 65 about 0 degrees and about 180 degrees, between at least about
shows the magnetic field strengths 2997a, 2997b of two mag 0 degrees and about 90 degrees, between at least about 0
nets moving at the same frequency at the same time 2992, but degrees and about 45 degrees, between at least about 0
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degrees and about 30 degrees, between at least about 0 within an EEG band, and the frequencies are the same (or
degrees and about 15 degrees, between at least about 0 substantially so), however, the EEG readings have peaks for
degrees and about 10 degrees, at least about 5 degrees, at least each electrode at different times (i.e. a non-zero EEG phase),
about 10 degrees, at least about 15 degrees, at least about 30 a device as described herein may influence the EEG phase by
degrees, at least about 45 degrees, at least about 60 degrees, at 5 applying a magnetic field having a magnetic phase (i.e. where
least about 90 degrees, at least about 120 degrees, at least the magnets move at the same frequency and in-phase with
about 180 degrees, at least about 240 degrees, and at least each other).
about 270 degrees different from the second rotational orien             In some embodiments, a device comprises a first electrode
tation relative to a second portion of the treatment surface of operable to detect electrical brain activity; and a second elec
the device. The specified EEG frequency may be an intrinsic 10 trode operable to detect a reference signal, wherein the first
frequency as described herein. The specified EEG frequency electrode is located on the Subject in at least one of an area of
may be a pre-selected frequency as described herein. The low electrical resistivity on a Subject, and an area with Sub
pre-selected frequency may be an average intrinsic frequency
of a healthy population database within a specified EEG band.         stantially no electrical impulse interference on a Subject, and
   The magnetic phase of the device may be operable to 15 wherein the second electrode is located on the subject. In
influence an EEG phase between a first site and a second site Some embodiments, a device comprises a first electrode oper
in the brain of a subject of a specified EEG frequency. FIG.30 able to detect electrical brain activity; and a second electrode
shows theoretical EEG electrode readings 3095a,3095b mea operable to detect a reference signal, wherein the first elec
sured at two locations on a subject’s head within a single EEG trode is located on the subject in at least a portion of the ear
band when the two locations are exhibiting similar (or the canal of the subject, and wherein the second electrode is
same) frequency, but are out of phase relative to each other, located on the Subject. Such electrode placements and con
i.e. displaying an EEG phase 3089. The EEG readings over figurations may be part of any NEST device described herein.
time in this graph are plotted with time on the x axis, and EEG Alternatively, these electrode configurations (including
readings on the y axis (with two X axis, to show two EEG placement and conformation) may be part of any device
electrode readings taken simultaneously at different locations 25 wherein a clearer EEG signal is desired, since these configu
on the head of the subject). As depicted in FIG.30, a first EEG rations result in reductions in noise and reduced resistivity
reading 3095a, and a second EEG reading 3095b may be out from other signals (such as muscle twitches, etc) as compared
of phase relative to each other. In some embodiments, the to electrodes placed on, for example, the head of a Subject.
amount that the first EEG reading and the second EEG read                FIG. 27 shows an example embodiment of a NEST device
ing are out of phase relative to each other is called the EEG 30 having a first EEG electrode 2782a located in the subject’s ear
phase 3089. The EEG phase 3089 may be measured peak to canal 2707, and a reference EEG electrode 2782b (i.e. a
peak (i.e. peak of the first EEG reading to peak of the second second electrode) located on an earlobe of the subject 2706.
EEG reading as shown in FIG. 30, at 3089), or trough to Conductive gel 2783 may also be used with the first electrode
trough, or inflection to inflection, or any similar plot charac 2782b. In the embodiment shown in FIG. 27, the electrodes
teristic on both of the EEG reading graphs.                        35 2782a, 2782b, couple by wires to a controller subunit 2758.
    In some embodiments, the first site in the brain of a subject The controller subunit 2758 also couples to at least one mag
may generally align with a first permanent magnet, and the net 2702 operable to apply a magnetic field to the subjects
second site in the brain of a Subject may generally align with 2706 brain by spinning the magnet 2702 about its axis (not
a second permanent magnet of the device to influence the shown). Other NEST devices as described herein may be used
EEG phase between those two sites. Additional sites also be 40 and may include the EEG electrodes as described. Other
measured, and additional magnets may additionally be used magnet, magnets, and/or magnetic field configurations as
to influence the EEG phase between given sites toward a described herein may be used. Other controller subunits as
pre-selected EEG phase.                                               described herein may be used. The first electrode may be
    Provided herein is a device comprising, a means for apply shaped to fit the area having Substantially no electrical
ing a first magnetic field to a head of a Subject; and a means for 45 impulse interference, for non-limiting example, a portion of
applying a second magnetic field to a head of a subject the ear canal or a portion of the nasal cavity. The electrode
whereby the means for applying the first magnetic field and may be shaped like a hearing aid, including, for non-limiting
the means for applying the second magnetic field are capable example, completely in the canal shaped, canal shaped, half
of influencing an EEG phase between at least two sites in a shell shaped, full shell shaped, behind the ear shaped, and
brain of the subject of a specified EEG frequency. The mag 50 open ear shaped. The first electrode may be conformable to
netic fields (first magnetic field, and second magnetic field) the area having Substantially no electrical impulse interfer
may be of the same frequency, but out of phase with each ence. The first electrode may be compliant such that it fits the
other.                                                                specific anatomy of the Subject. The first electrode may come
   Additional magnetic fields may be provided by additional in multiple sizes to accommodate a range of Subjects
means for applying Such magnetic fields. These too may be 55 anatomy. The first electrode may be configured such that the
out of phase with each other, or with any of the magnetic Subject may place the electrode in the area having Substan
fields. Nevertheless, the magnetic fields in some embodi tially no electrical impulse interference without assistance
ments may have the same frequencies. The devices may be a from, for non-limiting example, a second person, a trained
Permanent Magneto-EEG Resonant Therapy (pMERT) (i.e. a EEG technician, or a medical professional.
Neuro-EEG Synchronization Therapy NEST device) as 60 The area having Substantially no electrical impulse inter
described herein.                                                     ference may be a location having Substantially no muscle
    Even a device having a magnetic phase of 0, where the activity. The area having Substantially no muscle activity may
magnets spin at the same frequencies, and in-phase relative to naturally have Substantially no muscle activity. Alternatively,
the treatment surface of the device (and/or relative to the head the area having Substantially no muscle activity may be
of the subject), may influence the EEG phase between two 65 relaxed by a muscle relaxation means such as, for non-limit
locations measured on the Subjects head. For example, if ing example, an injection with a substance that relaxes (and/
prior to treatment, two EEG electrodes take EEG readings or paralyzes) the muscles in the area, a topical application of
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a Substance that relaxes (and/or paralyzes) the muscles in the         Provided herein  is a method   of treating a subject, compris
area, and/or by an ingested muscle relaxation Substance.            ing adjusting output of a magnetic field for influencing an
   While an anatomical location of substantially no electrical intrinsic frequency of a specified EEG band of the subject
impulse interference (but where brain activity may be mea toward a pre-selected intrinsic frequency of the specified
Sured) may provide a clearer EEG signal resulting in less EEG band; and applying said magnetic field close to a head of
noise and reduced resistivity from the skull, the first electrode the subject. In some embodiments, a NEST device, such as
may alternatively be placed on the scalp (either directly, and/ one of the NEST devices (pMERT devices) described herein
or with hair between the scalp and the electrode). A single or isembodiments,
                                                                       used to create the magnetic field of the method. In some
                                                                                   influencing an intrinsic frequency may include
a plurality of electrodes may be placed on the scalp for coher 10 influencing harmonics      of the pre-selected intrinsic frequency
ence measurement, phase measurement, intrinsic frequency of the specified EEG band.
measurement, and/or Q-factor measurement. Noise from selected intrinsic frequency isIna harmonic       some embodiments, the pre
                                                                                                                 of the peak intrinsic
scalp movement and/or resistivity from the skull may be frequency of a specified EEG band. In some                     embodiments,
filtered from the signal (or signals) received from the EEG influencing an intrinsic frequency may include providing a
electrodes, however, Such filtering may not be necessary. 15 magnetic field having a target frequency that can be repre
Curve Smoothing may be applied to the signal (or signals) sented in the frequency domain by an impulse function. In
received from the EEG electrodes, however, such curve               Some embodiments, influencing an intrinsic frequency may
Smoothing may not be necessary. Using any of the EEG include providing a magnetic field having a target frequency
recording means noted herein, multiple signal recordings having no variation (standard of deviation around the target
may be taken and combined to determine, for non-limiting frequency is 0). In some embodiments, influencing an intrin
example, a coherence measurement, an intrinsic frequency sic frequency may include providing a magnetic field having
measurement, and/or a Q-factor measurement. An EEG elec a target frequency plus or minus at most 1% of the target
trode cap may be used, and signals from one or more elec frequency. In some embodiments, influencing an intrinsic
trodes of the cap may be used as described hereinto determine frequency may include providing a magnetic field having a
an intrinsic frequency, a Q-factor, or coherence.                25 target frequency plus or minus at most 5% of the target fre
   The area of the scalp upon which the first EEG electrode (or quency. In some embodiments, influencing an intrinsic fre
the plurality of electrodes) is/are placed may be induced to quency may include providing a magnetic field having a
have less muscle activity, or it may naturally have less muscle target frequency plus or minus at most 10% of the target
activity than other areas on the scalp. Inducing less muscle frequency. In some embodiments, influencing an intrinsic
activity in the area of the scalp may be achieved in various 30 frequency may include providing a magnetic field having a
ways. For non-limiting example, the area may be relaxed by target frequency plus or minus at most 10% of the target
a muscle relaxation means such as an injection with a sub frequency. In some embodiments, influencing an intrinsic
stance that relaxes (and/or paralyzes) the muscles in the area, frequency may include providing a magnetic field having a
a topical application of a Substance that relaxes (and/or para target frequency plus or minus at most 15% of the target
lyzes) the muscles in the area, and/or by an ingested muscle 35 frequency. In some embodiments, influencing an intrinsic
relaxation Substance.                                               frequency may include providing a magnetic field having a
   In some embodiments, the second electrode operable to target frequency plus or minus at most 20% of the target
detect a reference signal is a ground reference. The second frequency.
electrode may be an ear clip attached to, for non-limiting             Provided herein is a method of treating a subject, compris
example, a subjects earlobe. The second electrode may be 40 ing adjusting output of a magnetic field for influencing a
attached to a location showing substantially no EEG activity. Q-factor a measure of frequency selectivity of a specified
The second electrode may be an ear clip.                            EEG band of the subject toward a pre-selected Q-factor of the
   The device as described herein may be operable to measure band; and applying said magnetic field close to a head of the
the EEG signal from the subjects brain prior to and/or after subject. In some embodiments, a NEST device, such as one of
the application of the magnetic field to the subject. The device 45 the NEST devices (pMERT devices) described herein is used
as described herein may comprise logic (in a computer read to create the magnetic field of the method.
able format—for non-limiting example, hardware, software)              Provided herein is a method of treating a subject, compris
that receives and records the EEG signal prior to and/or fol ing adjusting output of a magnetic field for influencing a
lowing application of the magnetic field to the Subjects brain coherence of intrinsic frequencies among multiple sites in a
(or a portion thereof). The device as described herein may 50 brain of the subject within a specified EEG band toward a
comprise logic (in a computer readable format) that deter pre-selected coherence value; and applying said magnetic
mines the intrinsic frequency of a specified EEG band of the field close to a head of the subject. In some embodiments, a
Subject using the EEG signal prior to and/or following appli NEST device, such as one of the NEST devices (pMERT
cation of the magnetic field to the Subject's brain (or a portion devices) described herein is used to create the magnetic field
thereof). The device as described herein may comprise logic 55 of the method.
(in a computer readable format) that determines the Q-factor           Provided herein is a method of altering an intrinsic fre
of an intrinsic frequency of a specified EEG band of the quency of a brain of a subject within a specified EEG band,
Subject using the EEG signal prior to and/or following appli comprising determining the intrinsic frequency of the Subject
cation of the magnetic field to the Subject's brain (or a portion within the specified EEG band; comparing the intrinsic fre
thereof). The device as described herein may comprise logic 60 quency from step (a) to an average intrinsic frequency of a
(in a computer readable format) that determines the coher healthy population database; if the intrinsic frequency from
ence of the intrinsic frequencies of a specified EEG band of step (a) is higher than the average intrinsic frequency of the
the subject measured at multiple brain locations. The device healthy population database, shifting down the intrinsic fre
as described herein may comprise logic (in a computer read quency of the Subject by applying a specific magnetic field
able format) that determines the phase of the intrinsic fre 65 close to a head of the Subject, wherein said specific magnetic
quencies of a specified EEG band of the subject measured at field has a frequency lower than the intrinsic frequency of the
multiple brain locations.                                           Subject; and if the intrinsic frequency from Step (a) is lower
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than the average intrinsic frequency of the healthy population     phase is an EEG phase of a population of people. The popu
database, shifting up the intrinsic frequency of the Subject by    lation of people may be a set of people having a particular
applying a specific magnetic field close to a head of the          trait, characteristic, ability, or feature. The population may be
Subject, wherein said specific magnetic field has a frequency      a healthy population of people. The population of people may
higher than the intrinsic frequency of the Subject. In some        be a set of people not having a particular disorder, such as
embodiments, a NEST device, such as one of the NEST                anxiety, depression, or other disorders mentioned herein. In
devices (pMERT devices) described herein is used to create Some embodiments, the methods comprise measuring EEG
the magnetic field of the method.                                  data of two sites in the brain of the Subject, and calculating the
   Provided herein is a method of altering a Q-factor of an EEG phase between the two sites in the brain of a subject.
intrinsic frequency within a specified EEG band of a subject, 10 In some embodiments, there is no pre-selected EEG phase.
comprising determining the Q-factor of the intrinsic fre Rather, the method comprises adjusting output of a magnetic
quency within the specified EEG band of the subject; com field for influencing an EEG phase between two sites in the
paring the Q-factor of the intrinsic frequency from step (a) to brain of a subject within a specified EEG band; and applying
an average Q-factor of the intrinsic frequency of a healthy
population database; if the Q-factor of the intrinsic frequency 15 said magnetic field close to a head of the subject. The EEG
from step (a) is higher than the average Q-factor of the intrin phase may be influenced to be lower, or higher.
sic frequency of the healthy population database, tuning              In another aspect are methods for influencing an EEG
down the Q-factor of the intrinsic frequency of the subject by phase of a specified EEG frequency between multiple loca
applying a magnetic field with varying frequencies close to a tions of a brain of a subject, comprising determining the EEG
head of the subject; and if the Q-factor of the intrinsic fre phase the between at least two locations measured on the head
quency from step (a) is lower than the average Q-factor of the of the subject; comparing the EEG phase to an average EEG
intrinsic frequency of the healthy population database, tuning phase of a healthy population; and applying a magnetic field
up the Q-factor of the intrinsic frequency of the subject by close to a head of the Subject. Applying the magnetic field
applying a specific magnetic field with a pre-selected fre may influences the determined EEG phase toward the average
quency close to a head of the Subject. In some embodiments, 25 EEG phase of a healthy population. The specified EEG fre
a NEST device, such as one of the NEST devices (pMERT quency may be an intrinsic frequency as described herein.
devices) described herein is used to create the magnetic field The specified EEG frequency may be a pre-selected fre
of the method.                                                     quency as described herein. The pre-selected frequency may
   Provided herein is a method of improving coherence of be an average intrinsic frequency of a healthy population
intrinsic frequencies within a specified EEG band among 30 database within a specified EEG band.
multiple locations of a brain of a Subject, comprising deter          In another aspect are methods for using a Transcranial
mining the coherence value of the intrinsic frequencies Magnetic Stimulation (TMS) device for influencing an EEG
among multiple locations throughout a scalp of the Subject; phase of a Subject within a specified EEG band, comprising:
comparing the coherence value from step (a) to an average adjusting output of said TMS device; changing the EEG
coherence value of a healthy population database; if the 35 phase by repetitive firing of at least one magnetic field using
coherence value from step (a) is higher than the average said TMS device; and applying said magnetic field close to a
coherence value of the healthy population database, lowering head of the subject.
the coherence value of the Subject by applying at least two           In some embodiments, the magnetic field results from a
asynchronous magnetic fields close to a head of the Subject; if first magnetic source and a second magnetic source. In some
the coherence value from step (a) is lower than the average 40 embodiments, the first magnetic source and the second mag
coherence value of the healthy population database, raising netic source are out of phase relative to each other. In some
the coherence value of the Subject by applying at least one embodiments, the amount that the first magnetic source and
synchronized magnetic field close to a head of the Subject. In the second magnetic source are out of phase relative to each
some embodiments, a NEST device, such as one of the NEST           other is called the magnetic phase.
devices (pMERT devices) described herein is used to create 45 In some embodiments of at least one aspect described
the magnetic field of the method.                                  herein, the step of applying the magnetic field is for a prede
   Provided herein is a method comprising adjusting an out termined cumulative treatment time. In some embodiments of
put current of an electric alternating current source for influ at least one aspect described above, the pre-selected or target
encing a Q-factor of an intrinsic frequency of an EEG band of intrinsic frequency with the specified EEG band is from about
a subject toward a target Q-factor, and applying said output 50 0.5 Hz to about 100 Hz. In some embodiments of at least one
current across a head of the Subject.                              aspect described above, the pre-selected or target intrinsic
   Provided herein is a method comprising adjusting output of frequency with the specified EEG band is from about 1 Hz to
a magnetic field for influencing an EEG phase between two about 100 Hz. In some embodiments of at least one aspect
sites in the brain of a subject of a specified EEG frequency described above, the pre-selected or target intrinsic frequency
toward a pre-selected EEG phase of the specified EEG fre 55 with the specified EEG band is not greater than about 50 Hz.
quency; and applying said magnetic field close to a head of In some embodiments of at least one aspect described above,
the subject.                                                       the pre-selected or target intrinsic frequency with the speci
   In some embodiments, the pre-selected EEG phase is lower fied EEG band is not greater than about 30 Hz. In some
than the EEG phase between the two sites in the brain of the embodiments of at least one aspect described above, the pre
subject. In some embodiments, the pre-selected EEG phase is 60 selected or target intrinsic frequency with the specified EEG
any EEG phase lower than the EEG phase between the two band is not greater than about 20 Hz. In some embodiments of
sites in the brain of the subject. In some embodiments, the at least one aspect described above, the pre-selected or target
pre-selected EEG phase is higher than the EEG phase intrinsic frequency with the specified EEG band is not greater
between the two sites in the brain of the subject. In some than about 10 Hz. In some embodiments of at least one aspect
embodiments, the pre-selected EEG phase is any EEG phase 65 described above, the pre-selected or target intrinsic frequency
higher than the EEG phase between the two sites in the brain with the specified EEG band is greater than about 3 Hz. In
of the subject. In some embodiments, the pre-selected EEG          Some embodiments of at least one aspect described above, the
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pre-selected or target intrinsic frequency with the specified     cal location (for example, the area at which the first electrode
EEG band is greater than about 1 Hz.                              is to be placed). The method may comprise providing an
   In some embodiments, of at least one aspect described          electrode that fits an anatomical location (for example, the
above, the pre-selected or target intrinsic frequency with the    area at which the first electrode is to be placed). The first
specified EEG band is up to about 25 Hz. As used herein, the      electrode may come in multiple sizes to accommodate a range
term “about when referring to a frequency can mean varia          of subjects anatomy. The first electrode may be configured
tions of 0.1 HZ-0.2 HZ, 0.1 Hz to 0.5 HZ, 0.5 Hz to 1 Hz, or 1    Such that the Subject may place the electrode in the area
HZ to 5 HZ.                                                       having Substantially no electrical impulse interference with
   In some embodiments, the pre-selected and/or target intrin out assistance from, for non-limiting example, a second per
sic frequency is chosen from a plurality of intrinsic frequen 10 son, a trained EEG technician, or a medical professional.
cies in the specified EEG band. In some embodiments the              The method or methods described herein may comprise
pre-selected and/or target intrinsic frequency is chosen from placing the first electrode in a location having Substantially no
a plurality of intrinsic frequencies across a plurality of EEG electrical impulse interference may be a location having Sub
bands. In some embodiments the specified EEG band is the stantially no muscle activity. The area having Substantially no
Alphaband. In some embodiments the specified EEG band is 15 muscle activity may naturally have Substantially no muscle
the Beta band.                                                    activity. The method or methods described herein may com
   In some embodiments of the methods described herein, the       prise relaxing the area of the subject at which the first elec
method or methods may comprise locating a first electrode trode is placed by a muscle relaxation means such as by, for
operable to detect electrical brain activity on the subject in an non-limiting example, injecting with a Substance that relaxes
area of low electrical resistivity on a subject. In some embodi the muscles in the area, applying a topical Substance that
ments of the methods described herein, the method or meth         relaxes the muscles in the area, and/or by providing an ingest
ods may comprise locating a first electrode operable to detect ible muscle relaxation substance to the subject that relaxes the
electrical brain activity on the Subject in an area with Substan  muscles in the area. The method or methods described herein
tially no electrical impulse interference on a subject. In some may comprise paralyzing the area of the Subject at which the
embodiments of the methods described herein, the method or 25 first electrode is placed by a muscle paralysis means such as
methods may comprise locating a first electrode operable to by, for non-limiting example, and/or injecting with a Sub
detect electrical brain activity on the Subject in an area having stance that Substantially paralyzes the muscles in the area,
Substantially no electrical impulse interference. In some applying a topical Substance that Substantially paralyzes the
embodiments of the methods described herein, the method or            muscles in the area.
methods may comprise locating a first electrode operable to 30 While an anatomical location of substantially no electrical
detect electrical brain activity on the subject in a location impulse interference, and/or a location having Substantially
having substantially no muscle activity. The method or meth no muscle activity (but where brain activity may be mea
ods may further comprise locating a second electrode oper Sured) may provide a clearer EEG signal resulting in less
able to detect a reference signal on the subject. The method or noise and reduced resistivity from the skull, nevertheless, the
methods may further comprise determining the intrinsic fre 35 methods provided herein may comprise placing the first elec
quency from: the electrical brain activity detected by the first trode on the scalp (either directly, and/or with hair between
electrode, and the reference signal detected by the second the scalp and the electrode). The methods provided herein
electrode.                                                              may comprise placing a plurality of electrodes on the scalp for
   In some embodiments of the methods described herein, the             coherence measurement, intrinsic frequency measurement,
method or methods may comprise locating a first electrode 40 and/or Q-factor measurement. The methods provided herein
operable to detect electrical brain activity on the subject in at may comprise filtering from the signal (or signals) received
least a portion of the ear canal of the subject. The method or from the EEG electrodes noise from scalp movement and/or
methods may further comprise locating a second electrode resistivity from the skull. The methods provided herein may
operable to detect a reference signal on the subject. The comprise Smoothing the signal curve received and/or deter
method or methods may further comprise determining the 45 mined from the EEG electrodes. The methods provided
intrinsic frequency from the electrical brain activity detected herein may comprise determining from multiple signal
by the first electrode and the reference signal detected by the recordings: a coherence measurement, an intrinsic frequency
second electrode.                                                       measurement, and/or a Q-factor measurement using any of
   The method or methods described herein may comprise the EEG recording means noted herein. An EEG electrode
applying conductive gel to the area of low electrical resistivity 50 cap may be used, and signals from one or more electrodes of
on a subject (i.e. the location at which the first electrode is the cap may be used as described herein to determine an
placed). The method or methods described herein may com intrinsic frequency, a Q-factor, or coherence.
prise applying conductive gel to the area having Substantially            The area of the scalp upon which the first EEG electrode (or
no electrical impulse interference on a subject (i.e. the loca the plurality of electrodes) is/are placed may be induced to
tion at which the first electrode is placed). The method or 55 have less muscle activity, or it may naturally have less muscle
methods described herein may comprise applying conductive activity than other areas on the scalp. Inducing less muscle
gel to the area having Substantially no muscle activity (i.e. the activity in the area of the scalp may be achieved in various
location at which the first electrode is placed). Alternatively, ways. For non-limiting example, the methods may comprise
or in addition to the applying the gel, the method may com relaxing the area where the first electrode is placed, for non
prise shaping the first electrode to fit the area at which the first 60 limiting example, by injecting the area with a substance that
electrode is placed, for non-limiting example, the portion of relaxes (and/or paralyzes) the muscles in the area, applying a
the earcanal or the portion of the nasal cavity in which the first topical Substance that relaxes (and/or paralyzes) the muscles
electrode is placed. The electrode may be pre-shaped togen in the area, and/or by providing an ingestible muscle relax
erally fit the intended anatomical location of electrode place ation Substance that relaxes the muscles in the area.
ment, or the electrode may be shaped in-situ to fit the specific 65 In some embodiments, the method comprises placing a
Subjects anatomical location of electrode placement. The second electrode operable to detect a reference signal,
method may comprise shaping the electrode to fit an anatomi wherein the second electrode is a ground reference. The
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method may comprise attaching an ear clip electrode to, for quencies close to thresholds of exciting brain cells. Magnetic
non-limiting example, a Subjects earlobe. The ear clip may fields generated by rTMS devices can pass through the skull
be removable. The method may comprise attaching the sec and into the cortex without being distorted. The result is a
ond electrode to a location showing substantially no EEG very focal type of stimulation, minimizing stimulation of
activity.                                                           brain tissue not intended to be stimulated.
   Measuring the EEG signal from the subject’s brain (i.e.             The magnetic pulses generated by rTMS devices are gen
measuring EEG data of the subject) may be done prior to erally believed to induce electrical charges to flow. The
and/or after the application of the magnetic field to the sub amount of electricity created in the brain is very Small, and
ject. The method may comprise receiving the EEG signals can not be felt by the patient. These flowing electric charges
(i.e. receiving the reference signal from the reference elec 10 can cause the neurons to fire or become active under certain
trode and receiving the brain activity from the first electrode) circumstances. Typically, an objective of rTMS Therapy is to
prior to application of the magnetic field to the subject’s brain stimulate (or activate) brain cells.
(or a portion thereof). The method may comprise recording              Jin Y et al. Therapeutic effects of individualized alpha
the EEG signals prior to application of the magnetic field to frequency transcranial magnetic stimulation (alphaTMS) on
the subjects brain (or a portion thereof). The EEG signals 15 the negative symptoms of Schizophrenia. Schizophr Bull.
(i.e. receiving the reference signal from the reference elec 32(3):556-61 (2006July; Epub 2005 Oct. 27), which is incor
trode and receiving the brain activity from the first electrode) porated by reference in its entirety, described four stimulation
received and/or recorded prior to application of the magnetic parameters that require optimization for rTMS:
field to the subject’s brain (or a portion thereof) may be used        (a) Frequency—Higher frequencies (>10 Hz) are believed
in determining at least one of the intrinsic frequency of a               to increase cortical excitability;
specified EEG band of the subject, the Q-factor of an intrinsic        (b) Intensity—As a percentage of the threshold at which
frequency of a specified EEG band of the subject, the phase of            motor activity can be elicited (~1-2 Tesla);
the intrinsic frequencies of a specified EEG band of the sub           (c) Duration Pulse trains are brief (1-2 seconds), and
ject, and the coherence of the intrinsic frequencies of a speci           intertrain intervals can be 30-60 seconds; and
fied EEG band of the subject measured at multiple brain 25 (d) Site of Stimulation—Depending on patient population
locations. The method may comprise receiving the EEG sig                  or specific brain functions.
nals (i.e. receiving the reference signal from the reference           In some embodiments, severity of psychosis, depression,
electrode and receiving the brain activity from the first elec and movement disorders can be assessed with PANSS, Mont
trode) following (or after) application of the magnetic field to gomery-Asberg Depression Rating Scale (MADRS), Barnes
the subjects brain (or a portion thereof). The method may 30 Akathisia Rating Scale (BARS), and Simpson-Angus Scale
comprise recording the EEG signals (i.e. the reference signal (SAS), as described by Jin Y et al. above. In some embodi
from the reference electrode and the brain activity from the ments, severity of psychosis, depression, and movement dis
first electrode) following or after application of the magnetic orders can be assessed with the Hamilton Anxiety Scale
field to the subject’s brain (or a portion thereof). The EEG        (HAMA), the Hamilton Depression Scale (HAMD), or any
signals received and/or recorded (i.e. the reference signal 35 methods known in the art. In some embodiments, efficacy in
from the reference electrode and the brain activity from the clinical ratings can be evaluated by using analyses of variance
first electrode) following (or after) application of the mag (ANOVA) as described by Jin Yet al. above. In some embodi
netic field to the subjects brain (or a portion thereof) may be ments, raw EEG data can be edited offline by an experienced
used in determining at least one of the post-treatment intrinsic technician who is blind to the treatment conditions to elimi
frequency of a specified EEG band of the subject, the post 40 nate any significant or apparent artifact as described in Jin Y
treatment Q-factor of an intrinsic frequency of a specified et al. above. In some embodiments, multivariate analysis of
EEG band of the subject, the post-treatment phase of the variance (MANOVA) with repeated measures can be used to
intrinsic frequencies of a specified EEG band of the subject, determine the main effect interactions as described in Jin Yet
and the post-treatment coherence of the intrinsic frequencies al. above.
of a specified EEG band of the subject measured at multiple 45 Since EEG changes can be direct consequences of treat
brain locations. Determining the intrinsic frequency may ments using the methods or devices described herein, those
comprise removing the reference signal detected by the sec EEG changes can be used to clinically correlate improvement
ond electrode from the electrical brain activity detected by the in Symptoms of mental disorders. Improvement in Symptoms
first electrode. Determining the Q-factor of an intrinsic fre can include positive symptoms and negative symptoms. In
quency of the specified EEG band comprises ascertaining the 50 Some embodiments, the EEG changes after using the methods
Q-factor from the electrical brain activity detected by the first or devices described correlated to both positive symptoms
electrode and the reference signal detected by the second and negative symptoms. In some embodiments, the EEG
electrode by removing the reference signal detected by the changes after using the methods or devices described corre
second electrode from the electrical brain activity detected by lated to only positive symptoms. In some embodiments, the
the first electrode and calculating the Q-factor from the intrin 55 EEG changes after using the methods or devices described
sic frequency fo and the Afas shown in FIG. 12.                     correlated to only negative symptoms. In some embodiments,
rTMS Therapy                                                        correlations between EEG changes and improvement in nega
   Repetitive Transcranial Magnetic Stimulation (rTMS) tive symptoms are only significant in the absence of positive
refers to uses of a magnetic field administered in very short symptoms. In some embodiments, correlations between EEG
grouped pulses (microseconds in length) to a patients head to 60 changes and improvement in positive symptoms are only
achieve a constant train of activation over brief periods of a significant in the absence of negative symptoms.
treatment session. These brief magnetic fields can stimulate           In some embodiments, negative symptoms include, but not
Small areas of the brain non-invasively. During a single ses limited to, loss of motivation, anhedonia, emotional flatten
Sion, about 3,000 magnetic pulses can be given over an inter ing, and psychomotor retardation. These negative symptoms
val of about 30 minutes.                                         65 can be associated with patient’s cognitive deficits and poorer
   The short pulses of magnetic energy generated by rTMS clinical prognosis, and often resistant to antipsychotic medi
devices can stimulate nerve cells of the brain, often at fre        cations. See Gasquet et al., Pharmacological treatment and
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other predictors of treatment outcomes in previously                   Provided herein is a method comprising adjusting an out
untreated patients with schizophrenia: results from the Euro put current of an electric alternating current source for influ
pean Schizophrenia Outpatient Health Outcomes (SOHO) encing a Q-factor of an intrinsic frequency of an EEG band of
study. Int Clin Psychopharmacol. 20: 199-205 (2005), which a subject toward a target Q-factor, and applying said output
is incorporated by reference in its entirety.                    5 current across a head of the Subject. In some embodiments,
CESTherapy                                                          the step of adjusting the output current comprises varying a
   Cranial Electrotherapy Stimulation (CES) is a method of frequency of the output current. In some embodiments, the
applying microcurrent levels of electrical stimulation across step of adjusting the output current comprises setting the
the head via transcutaneous electrodes. Provided herein is          output current to a frequency that is higher than the intrinsic
method including applying an electric alternating current 10 frequency of the Subject. In some embodiments, the step of
(AC) across ahead of a subject, and adjusting and/or varying adjusting the output current comprises setting the output cur
the frequency of the AC current to effect at least one of a rent to a frequency that is lower than the intrinsic frequency of
characteristic, mental disorder, and an indication presented the Subject. In some embodiments, the step of adjusting the
herein. In some embodiments, the AC current is a microcur           output current comprises setting the output current to the
rent.                                                            15 target frequency. In some embodiments, the method further
   Provided herein is a method comprising adjusting an out comprises determining the Q-factor of the intrinsic frequency
put of an electric alternating current source for influencing an of the EEG band of the subject; and comparing the Q-factor to
intrinsic frequency of a EEG band of a subject toward a target the target Q-factor, wherein the target Q-factor is an average
frequency of the EEG band; and applying said electric alter Q-factor of the intrinsic frequencies of the EEG bands of a
nating current across a head of the Subject. In some embodi healthy population of people, wherein if the intrinsic fre
ments of the methods, a CES therapy is used to influence the quency is higher than the target frequency, the step of adjust
intrinsic frequency of a patient's brain toward a target fre ing the output current comprises varying a frequency of the
quency as measured by EEG.                                          output current, and if the intrinsic frequency is lower than the
   Provided herein is a method comprising adjusting an out target frequency, the step of adjusting the output current com
put current of an electric alternating current source for influ 25 prises setting the output current to a frequency that is higher
encing an intrinsic frequency of an EEG band of a subject than the intrinsic frequency of the Subject.
toward a target frequency of the EEG band; and applying said           In some embodiments, the frequency of the output current
output current across a head of the Subject. In some embodi has a waveform. In some embodiments, the waveform is a
ments, the step of adjusting the output current comprises sinusoidal or near-sinusoidal AC microcurrent waveform (i.e.
setting the output current to a frequency that is lower than the 30 a controlled waveform). In some embodiments, the waveform
intrinsic frequency of the Subject. In some embodiments, the is any waveform described herein, including but not limited to
step of adjusting the output current comprises setting the a half waveform and/or a full waveform. In some embodi
output current to a frequency that is higher than the intrinsic ments, the EEG band is the alpha band measured by EEG. In
frequency of the Subject. In some embodiments, the step of Some embodiments, the intrinsic frequency is the alpha fre
adjusting the output current comprises setting the output cur 35 quency of the patient’s brain measured by EEG. In some
rent to the target frequency. In some embodiments, the embodiments, the target frequency is a target frequency of the
method further comprises determining the intrinsic frequency alpha band as measure by EEG. In some embodiments the
of the EEG band of the subject; and comparing the intrinsic target frequency is an average frequency of a group of at least
frequency to the target frequency of the EEG band, wherein two people of the specified EEG band. In some embodiments,
the target frequency is an average intrinsic frequency of the 40 the healthy population of people comprises at least two
EEG bands of a healthy population of people, wherein if the healthy people. In some embodiments, the healthy population
intrinsic frequency is higher than the target frequency, the of people comprises at least two people, each of whom do not
step of adjusting the output current comprises setting the have at least one of the mental disorders listed above. In some
output current to a frequency that is lower than the intrinsic embodiments, the healthy population of people comprises at
frequency of the Subject, and if the intrinsic frequency is 45 least two people without any of the mental disorders listed
lower than the target frequency, the step of adjusting the above.
output current comprises setting the output current to a fre           It will be understood by those of skill in the art that numer
quency that is higher than the intrinsic frequency of the Sub ous and various modifications can be made without departing
ject.                                                               from the spirit of the present invention. Therefore, it should be
   Provided herein is a method comprising adjusting an out 50 clearly understood that the forms of the present invention are
put of an electric alternating current source for influencing a illustrative only and are not intended to limit the scope of the
Q-factor a measure of frequency selectivity of a specified present invention.
EEG band of a subject toward a target Q-factor of the band;
and applying said electric alternating current across ahead of                                EXAMPLES
the Subject. In some embodiments of the methods, a con 55
trolled waveform CES therapy is used to influence a Q-factor           The invention is described in greater detail by the following
ofan intrinsic frequency of apatient’s brain. FIG. 12 shows an non-limiting examples.
example of the Q-factor as used in this invention. The figure
shows a sample graph of the frequency distribution of the                                      Example 1
energy of an EEG signal. It can be seen that a frequency range, 60
Afcan be defined as the frequency bandwidth for which the              In some embodiments, described are devices that provide
energy is above one-half the peak energy. The frequency f is low frequency near-sinusoidal TMS therapy by rotating at
defined as the intrinsic frequency in the specified band. The least one permanent magnet in close proximity to the Sub
Q-factor is defined as the ratio off/Af. As can be seen, when jects head. The direction of rotation relative to the subject
AF decreases for a given f, the Q-factor will increase. This 65 can vary depending on the specific therapy desired. Also, the
can occur when the peak energy E of the signal increases speed of rotation can be adjusted to provide the optimal
or when the bandwidth of the EEG signal decreases.                  therapeutic benefit. The speed adjustment itself can come
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from the user of the device or from a controller that uses           those in configurations described herein may be used in the
feedback from a bio-sensor to determine the optimal speed.           device 88 shown in FIGS. 7, 8, and 9. The subject’s head is
   In particular embodiments, a bar magnet can be mounted at pressed against the button EEG electrode (not shown), with
the end of the shaft with the line through the poles perpen the second electrode 82b attached to the subjects right ear.
dicular to the axis of the shaft. The shaft can be rotated by an 5 FIG. 9 shows an alternate angle of the subject 6 receiving
adjustable motor. The magnet can rotate so that the plane of therapy from the pMERT (NEST) device 88 as described in
rotation is perpendicular to the Surface of the scalp. Accord FIG. 7 and/or FIG. 8.
ingly, the positive and negative poles of the magnet can be             In these particular embodiments, the pMERT as shown in
alternately brought in close proximity to the scalp. This can FIGS. 7-9 contains a single EEG lead (i.e. electrode) which is
create a near-sinusoidal magnetic field in the brain in which 10 to be placed at the top of the subjects head. Alternatively,
the location where the field is strongest is that which is closest multiple EEG electrodes may be used in recording and/or
to the magnet.                                                       monitoring the subject’s brain waves at least one of before,
                                                                     during, and after the therapy is applied to the Subject. The
                             Example 2                               subject or nurse can prepare the EEG leads (and/or elec
                                                                  15 trodes) with an electrolytic gel beforehand to lower the
   In particular embodiments, a horseshoe magnet can be impedance. The reference electrode can be placed on the
mounted at the end of the shaft with the poles positioned at the Subject's ear. In some embodiments, the reading from a ref
far end from the shaft. The shaft can be rotated by an adjust erence EEG electrode is subtracted and/or otherwise removed
able motor, as in the previous example. The magnet can be from the reading from the second EEG electrode.
positioned above the subject’s scalp such that the plane of             When therapy is needed, the subject or nurse can follow the
rotation is parallel to the Surface of the scalp. Accordingly, the instructions on the display, which will provide a walkthrough
positive and negative poles can rotate in a circle around the of the EEG electrode preparation. Once complete and the
Scalp. This can create a sinusoidal magnetic field in the brain patient is situated in the device, the EEG is checked by the
in which the phase of the magnetic field is dependent on pMERT to ensure that the electrode is placed correctly. If not,
where the magnetic poles are in their rotation. In general, the 25 an audible tone or instruction is given to allow the patient to
magnetic field under one pole will be of opposite polarity to resituate himself/herself until proper contact is made.
the magnetic field under the opposite pole.                             Once contact is made, the patient lies still with eyes closed
                                                                     while the pMERT (NEST) acquires a representative EEG
                             Example 3                               sample. The EEG data is analyzed and, depending on the
                                                                  30 therapy to be delivered, the magnet or magnets are rotated at
   In particular embodiments, two bar magnets can be used, the appropriate speed. The patient does not feel anything
each mounted at the end of a shaft. The shafts can be rotated        during the procedure, except for a diminution of the symp
by adjustable motors. The magnets can be positioned on toms of the disorder, and perhaps a feeling of calm. During
opposite sides of the Subjects head, and they are rotated therapy, the device may sample the EEG data either by sub
synchronously to provide a more uniform phase for the mag 35 tracting out the influence of the magnet or by temporarily
netic field in the brain. When the north Pole of one bar magnet halting the magnet while the EEG data is sampled. The dis
is next to the subject’s scalp, the south Pole of the other play is used to show time remaining and any other necessary
magnet will be next to the Subject's Scalp on the opposite side status information for the device. After the therapy time, the
of the subject’s head.                                               magnet stops and a second EEG is taken, to be compared to
                                                                  40 the first EEG. Upon completion of the second EEG acquisi
                             Example 4                               tion, an audible signal is given to indicate end of therapy.
   In particular embodiments, the NEST (pMERT) device is a            Example 5 Purchasing Dosage Quotas and Report
Small, generally cube-shaped device with one side that is                                 Generation
curved to allow contact with the top of the subjects head. 45
FIGS. 7-9 show the NEST (pMERT) device in such embodi              The methods and devices described are intended to be used
ments, and also show the NEST (pMERT) device with a by psychiatrists/therapists to treat patients with mental disor
subject lying on his/her back with his/her head resting in the ders. Psychiatrists who take advantage of this therapy can
device to receive therapy.                                      register accounts with a vendor of the devices described and
   FIGS. 7, 8, and 9 show an exemplary embodiment of the 50 be given a username and password. When a psychiatrist sees
pMERT (NEST) device 88. In this embodiment, a button a patient with a disorder and the psychiatrist feels that the
EEG electrode 82a is located on the concave surface of the      patient could benefit from the methods or devices described
device 88 and a second reference electrode 82b extends via a    herein, the psychiatrist either orders a device or selects one
wire from the side of the device 88. The display 64 and control that has been pre-purchased.
buttons 86 (device controls) are located on top of the device 55 The psychiatrist (or administrative assistant) can plug a
88 to provide information and allow the user to adjust param pMERT (NEST) device into a USB port on a PC connected to
eters and enter patient data. A USB port 84 (which may also an internet. Using web access and their username?password,
and/or alternatively be at least one of an internet connection the psychiatrist can login to the NeoSync website. The
port, a power Supply, a modem connection, and another type pMERT (NEST) will be automatically detected by the Neo
of communications means) is located at the top rear of the 60 Sync website, and any necessary Software upgrades will be
device 88, to allow it to be connected via a USB cable to a PC,      downloaded.
allowing uploading of data and downloading of a dosage            The psychiatrist can then order a number of dosage quotas
quota. FIG.8 shows the pMERT (NEST) device 88 from FIG. for a particular disorder from the website, such as 15
7 in which a subject 6 is lying with his/her head against the 20-minute therapy treatment, one per day, to treat depression.
concave surface of the device 88. At least one moving magnet 65 An encrypted key will be downloaded to the pMERT (NEST),
is unseen inside the pMERT (NEST) device 88 in order to which will be set to allow the dosage quotas requested by the
deliver therapy to the Subject 6. Moving magnets Such as psychiatrist. Once this occurs, the psychiatrist will automati
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cally be billed based on the number and type of dosage quo        sia Rating Scale (BARS), and Simpson-Angus Scale (SAS),
tas. The psychiatrist will then bill the patient (or eventually   respectively. All rating scales and EEGs are administered at
the patients insurance) for the procedure. The patient can        screening, baseline (immediately prior to first treatment),
take the pMERT (NEST) device to his/her home to use the           immediately following the fifth and tenth treatments.
device in accordance with the therapy prescribed by the psy          While the technician administering the pMERT (NEST)
chiatrist or the patient can be treated in the psychiatrists      device cannot be blinded, the evaluating physicians and EEG
office.                                                           technicians remain unaware of the type of treatment through
   Once the patient has used up all the dosage quotas the out          the duration of study. A priori categorical definition for
                                                                  clinical response is >30% baseline-to-post treatment reduc
psychiatrist has loaded onto the device, the patient returns to tion at the
the psychiatrist with the pMERT (NEST) device. The psy 10 Subscale. end of treatment on PANSS negative symptom
chiatrist will connect the pMERT (NEST) device to the PC             Patients with a baseline and at least 1 additional set of
via a USB cable and will login to the NeoSync website as completed assessments (at least 5 treatment sessions) are
before. The website will detect the pMERT (NEST) and will included in the analysis of mean treatment effect. Efficacy in
upload all treatment information. A report can be generated clinical ratings is evaluated by using analyses of variance
with this information, giving the psychiatrist a quantitative 15 (ANOVA) with repeated measure over time. The models
indication of progress. The report can include for each treat include 2 between-subject factors of treatment and location,
ment the date, start time, end time, initial EEG alpha param and 1 within-subject factors of time. Effect of concomitant
eters (i.e., power and Q-factor), and the final EEG alpha antipsychotic treatment can be tested based on the categori
parameters. The psychiatrist can print the report or save it to Zation of typical and atypical neuroleptic medications.
a file to be placed in the patient’s record. At this point, the Grouping differences of all other measures are tested indi
psychiatrist can clear the memory of the device and use it for vidually using the same statistical model. Using a predefined
another patient or he/she can order more dosage quotas for the response criterion, a contingent table analysis can be used to
current patient.                                                  test the group difference in responding rate.
   If the psychiatrist decides that the patient should use the       Raw EEG data are edited offline by an experienced tech
pMERT (NEST) for a longer period, the psychiatrist can set 25 nician who is blind to the treatment conditions to eliminate
up an account for the patient with NeoSync, Inc. This way, the any significant (>3 arc) eye movements or any other type of
patient is able to order more dosage quotas without returning apparent artifact. Ten to twenty-four artifact-free epochs
to the psychiatrist. Only the dosage quotas approved by the (1,024 data points per epoch) in each recording channel are
psychiatrist will be allowed for the patient to order. The calculated by a fast Fourier transform (FFT) routine to pro
patient can pay NeoSync directly with a credit card or (even 30 duce a power spectrum with 0.2 Hz frequency resolution. The
tually) insurance. For each session, the psychiatrist may also intrinsic frequency of alpha EEG is defined as the mean peak
be paid. The psychiatrist would have access to all reports frequency (Fp) of 3 central leads (C3, C4, and Cz). EEG
uploaded from the pMERT (NEST) via the website.                   variables used in the analysis included power density (Pwr),
                                                                  peak frequency (Fp), Fp longitudinal coherence, and fre
                           Example 6                           35 quency selectivity (Q). See Jin Y et al. Alpha EEG predicts
                                                                  visual reaction time. Int J Neurosci. 116: 1035-44 (2006),
   Each patient admitted to the study is randomly assigned which is incorporated by reference in its entirety.
into one of the two study groups based on treatment using a          Coherence analysis is carried out between Fz and PZ in the
plugged pMERT (NEST) device and sham, where a pMERT peak alpha frequency. Recording from CZ is chosen to calcu
(NEST) device rotates a non-magnetic metal block instead of 40 late the Q-factor (peak freq/half-power bandwidth), a mea
a magnet. Patients are kept blind to the treatment condition.     Sure of the alpha frequency selectivity. It is measured in the
Each treatment consists of 22 daily sessions during a 30-day frequency domain by using a 60 sec artifact free EEG epoch
period (and/or at least 10 sessions during a 2 week period or and a 2.048 data point FFT with a 10-point smooth procedure.
more). Patients current antipsychotic treatments are kept Multivariate analysis of variance (MANOVA) across all
unchanged during the study.                                    45 channels for each variable is performed to test the treatment
   EEG data during treatments are recorded and individual and stimulus location effects. Change score for each variable
ized according to the alpha EEG intrinsic frequency (8-13 before and after pMERT (NEST) treatment is used to corre
Hz). The precision of the stimulus rate can be refined to the late with the change score of each clinical measure from the
level of 10% of a hertz. It is determined on each patients same time points.
average alpha frequency, obtained from 3 central EEG leads 50 FIG. 12 shows an example of the Q-factor as used in this
(C3, C4, and Cz). EEG data during treatments are recorded invention. The figure shows a sample graph of the frequency
from each subject in a Supine position with their eyes closed distribution of the energy of an EEG signal. It can be seen that
throughout the testing period. Nineteen EEG electrodes a frequency range. Afcan be defined as the frequency band
(Ag—AgCl) are used according to the International 10-20 width for which the energy is above one-half the peak energy.
system and referenced to linked mastoids. Electrooculograms 55 The frequency f is defined as the intrinsic frequency in the
(EOGs) from the outer canthus of both eyes are recorded specified band. The Q-factor is defined as the ratio off/Af. As
simultaneously to monitor eye movements. At least two min can be seen, when AF decreases for a given fo, the Q-factor
utes of EEG epochs are collected and digitized by a 12-bit will increase. This can occur when the peakenergy E of the
A/D (analog/digital) converter at the rate of 200 Hz, by a signal increases or when the bandwidth of the EEG signal
Cadwell EZ II acquisition system. Sixty seconds of artifact 60 decreases.
free epochs are utilized for fast Fourier transformations
(FFT). FFT window is set at 512 data points with 80% over                                   Example 7
lap.
   Severity of psychosis, depression, and movement disorders            Effect of NEST Device Lowering Blood Pressure
are assessed with the Hamilton Anxiety Scale (HAMA), the 65
Hamilton Depression Scale (HAMD), PANSS, Montgomery                  An effect of use of a NEST (i.e. pMERT) device using a
Asberg Depression Rating Scale (MADRS), Barnes Akathi method provided herein was shown to lower blood pressure in
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a female patient. The patient, originally using a NEST to treat       FIG. 17 shows an example embodiment of a NEST device
anxiety, complained of a moderate tension headache and her 1788 having three diametrically magnetized cylindrical mag
blood pressure was taken, and read at 110/90 mmHg. A NEST nets 1702a, 1702b, 1702c configured to rotate about their
device was set at a fixed specified frequency equal to an cylinder axes (not shown). Each of the magnets 1702a,
intrinsic frequency within her alpha EEG band and the mag 5 1702b. 1702c of this example embodiment is coupled to at
netic field emanating from the device was applied to the least one magnet drive pulley 1716a, 1716b, 1716c. 1716d.
patient’s head (cerebral cortex). During treatment using the Each of the magnet drive pulleys 1716a, 1716b, 1716c. 1716d
NEST device, three consecutive blood pressure measure wrapped      has at least one drive belt 1718a, 1718b, 1718C, 1718d
ments were taken at ten minute intervals, showing 110/85 10 comprisesattwoleast       partially about it. The device 1788 also
                                                                                  tensioner  assemblies 1708a, 1708b, each com
mmHg, 100/82 mmHg, and 100/70 mmHg, respectively. An
hour after treatment with the NEST device had ceased, the          prising  a tensioner  block  1710a, 1710b, a tensioner arm
patient’s tension headache returned, and her blood pressure 1712a,         1712b, and at least one tensioner drive pulley 1714a,
                                                                   1714b. 1714c each rotating about an axis going through the
was measured, reading 110/90 mmHg.                                 tensioner arm 1712a, 1712b, respectively, the axis generally
                                                                15 being parallel to the rotation axis of the magnets and to the
                          Example 8                                drive shaft 1704 of the device 1788. In the embodiment shown
                                                                   in FIG. 17, each of the tensioner assemblies has two tensioner
   In particular embodiments, a single cylindrical magnet that drive
is diametrically magnetized (pole on the left and right sides of ley ofpulleys   1714a, 1714b. 1714c., (one tensioner drive pull
                                                                         tensioner assembly 1708 is not shown in FIG. 17—ob
the cylinder) spins about the cylinder axis. The magnet can be scured by the side support 1722, but can be seen, for example,
placed anywhere around the patient’s head, and locations can in FIG. 18). The drive belts 1718a, 1718b. 1718c, 1718d are
be chosen based on the desire for a more focal therapy at a each also wrapped at least partially about at least one ten
particular location. Alternative embodiments can include sioner drive pulley 1714a, 1714b. 1714c., (one tensioner drive
stringing two or more cylindrical magnets together on the pulley of tensioner assembly 1708 is not shown in FIG.
same shaft, or along different shafts, to spin the magnets in 25 17 obscured by the side support 1722), such that each the
unison to create a particular magnetic field in treating the drive belts 1718a, 1718b, 1718c, 1718d is wrapped at least
patient. A non-limiting examples of this are found in FIGS. 13 partially around at least one of the magnet drive pulleys
through 15.                                                        1716a, 1716b, 1716c. 1716d and is also wrapped at least
   FIG. 13 shows an example embodiment of a diametrically partially around at least one of the tensioner drive pulleys
magnetized cylindrical magnet 2 for use in a NEST device. 30 1714a, 1714b. 1714c., (one tensioner drive pulley oftensioner
FIG. 14 shows an example embodiment of a NEST device assembly 1708 is not shown in FIG. 17 obscured by the side
applied to a subject 1406, the device having a diametrically support 1722, but can be seen, for example, in FIG. 18) of the
magnetized cylindrical magnet 1402 and a drive shaft 1404 tensioner subassemblies 1708a, 1708b.
that rotates the magnet 1402 about its cylinder axis, wherein         The device 1788 shown in FIG. 17 is held together by two
the cylinder axis coincides with rotation axis 1438. FIG. 15 35 side supports 1722, 1720 connected by a support column
shows an example embodiment of a NEST device applied to 1724a. In some embodiments, a second Support column
a subject 1506, the device having two diametrically magne 1724b, a third Support column (not shown) may also connect
tized cylindrical magnets 1502a, 1502b and a drive shaft 1404 the side supports 1722, 1720. Each of the tensioner assem
that simultaneously rotates the magnets 1502a, 1502b about blies 1708a, 1708b and each of the magnets 1702a, 1702b,
their cylinder axes, wherein the cylinder axes are coincident 40 1702c are mounted to (coupled to) at least one of these sup
with each other and with rotation axis. In this example ports, if not both the side supports 1722, 1720. Each of the
embodiment device, the north pole of magnet 1502a and the magnets 1702a, 1702b. 1702c are rotatably mounted to at
north pole of magnet 1502b are aligned to provide a more least one of the side supports 1722, 1720, such that each of the
uniform magnetic field to the subject 1506.                        magnets 1702a, 1702b. 1702c can rotate about their rotation
                                                                45 axes (cylinder axes) without motion of either of the side
                          Example 9                                supports 1722, 1720. Likewise, at least the tensioner drive
                                                                   pulleys 1714a, 1714b. 1714c. (and one tensioner drive pulley
   In particular embodiments, multiple cylindrical magnets unshown in FIG. 17) of the tensioner assemblies 1708a,
can be arrayed above a patients head so they spin in unison.       1708b are rotatably mounted (coupled) to at least one of the
These may be connected to each other by belts or gears so that 50 side supports 1722, 1720, such that each of the tensioner drive
they are driven by at least one motor. Non-limiting examples pulleys 1714a, 1714b. 1714c. (and one tensioner drive pulley
of these embodiments are shown in FIGS. 16 through 21.             unshown in FIG. 17) can rotate about their rotation axes (not
   FIG.16 shows an example embodiment of a NEST device shown) without motion of the side supports 1722, 1720.
having three diametrically magnetized cylindrical magnets             For example, drive belt 1718a wraps at least partially
1602a, 1602b, 1602c rotating about their cylinder axes and 55 around the magnet drive pulley 1716a of magnet 1702a, and
applied to a subject 1606. The poles of each the magnets also wraps at least partially around the tensioner drive pulley
1602a, 1602b, 1602c of the shown device are aligned gener 1714a of the first tensioner assembly 1708a. The drive shaft
ally to provide a peak magnetic field to the subject 1606 that 1704, coupled to a motor (not shown), drives the rotation of
is coincident with the peak magnetic fields delivered to the all of the magnets 1702a, 1702b, 1702c of the shown device
subject 1606 from each of the other magnets 1602a, 1602b, 60 1788. The drive shaft 1704 is coupled to a first magnet 1702a
1602C. Another way of saying this is that each of the magnets which, through its magnet drive pulley 1716a and associated
1602a, 1602b, 1602c has a neutral plane indicated by the belt 1718a turns the first tensioner drive pulley 1714a of the
dotted line on each of magnets 1602a, 1602b, and 1602c, and first tensioner assembly 1708a. The first tensioner drive pull
each the neutral planes is aligned to be generally parallel to ley 1714a of the first tensioner assembly 1708a is coupled to
the scalp of the subject 1606. This configuration provides a 65 the second tensioner pulley (not shown—obscured by side
more uniform field to the subject 1606 than if the magnets support 1722) of the first tensioner assembly 1708a, and,
1602a, 1602b, 1602c are not aligned in such a manner.              thus, when the first tensioner pulley 1714a is turned by the
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first drive belt 1718a, the second tensioner pulley (not shown) 1816a, 1816b. The tensioner block 1810a exerts a force on the
is also turned. Since the second drive belt 1718bis wrapped at belts 1818a, 1818b to keep the belts taut during use, since the
least partially around the second tensioner pulley (not shown) tensioner block 1810a is also coupled to tensioner springs
as well as the second magnet drive pulley 1716b of the second 1830a, 1830b which push the tensioner block 1810a away
magnet 1702b, the motion of the second tensioner pulley (not from the side supports 1822, 1820, and thus, away from the
shown) moves the second drive belt 1718b and likewise magnet drive pulleys 1816a, 1816b coupled to the side Sup
drives the rotation of the second magnet 1702b. The second ports 1822, 1820 by centerpins (not shown) that run through
magnet 1702 has a third magnet drive pulley 1716c which is each of the drive pulleys 1816a, 1816b and the magnets
coupled to the second drive pulley 1716b, and the third drive 1802a, 1802b. When the centerpin is also attached to a motor,
belt 1718c wraps at least partially around the third magnet 10 it may also rotate the magnet and its associated magnet drive
drive pulley 1716c, thus, motion of the second drive belt pulley(s), and it may be called a drive shaft. Nevertheless, the
1718b also causes motion of the third drive belt 1718C            magnet drive pulleys 1816a, 1816b can rotate, and with their
wrapped at least partially around the third magnet drive pull rotational movement the magnet drive pulleys 1816a, 1816b
ley 1716c. The motion of the third drive belt 1718c, also can rotate, or be rotated by, the magnets 1802a, 1802b.
wrapped at least partially around the third tensioner pulley 15 Likewise, tensioner assembly 1808b comprises a tensioner
1714b of the second tensioner assembly 1708b thus drives the block 1810b that couples to the side support 1822 by at least
rotation of the fourth tensioner pulley 1714c of the second one tensioner dowel pin 1832c. The tensioner block 1810b
tensioner assembly 1708b which is coupled to the third ten also couples to the side support 1820 by at least one tensioner
sioner pulley 1714b of the second tensioner assembly 1708b. dowel pin 1832c. The tensioner block 1810b floats freely
Furthermore, since the fourth drive belt 1718d is wrapped at along at least a portion of the dowel pins 1832c, 1832d. The
least partially around the fourth tensioner pulley 1714c of the tensioner block 1810b is attached to a tensioner arm 1812b
second tensioner assembly 1708b, and is also wrapped at least which has two tensioner drive pulleys 1814b. 1814c, which
partially around the fourth magnet pulley 1716d of the third couple to drive belts 1818d, 1818c (not shown) (respectively)
magnet 1702c, the motion of the fourth drive belt 1718d which themselves are coupled to magnets 1802b, 1802c(re
drives the rotation of the third magnet 1702c simultaneously 25 spectively) of the device 1888 through the magnet drive pull
with the rotation of the other two magnets 1702a, 1702b.          leys 1816c. 1816d. The tensioner block 1810b exerts a force
    In an alternative embodiment, the tensioner assemblies are    on the belts 1818d, 1818c (not shown) to keep the belts taut
not present, and the drive shaft drives the magnets connected during use, since the tensioner block 1810b is also coupled to
only to each other using drive belts. In an alternative embodi tensioner springs 1830c. 1830d which push the tensioner
ment, only one tensioner assembly is present and is coupled to 30 block 1810b away from the side supports 1822, 1820, and
at least two magnets. In an alternative embodiment, only one thus, away from the magnet drive pulleys 1816c. 1816d
tensioner assembly is present and is coupled to each of the coupled to the side supports 1822, 1820 by center pins (not
magnets. In an alternative embodiment, the magnets are shown) that run through each of the drive pulleys 1816c.
coupled to each other by gears. In an alternative embodiment,     1816d and the magnets 1802b, 1802c. When the centerpin is
the magnets are coupled to each other by a combination of at 35 also attached to a motor, it may also rotate the magnet(s) and
least one gear and at least one belt. In an alternative embodi its associated magnet drive pulley(s), and it may be called a
ment, the magnets are coupled to each other by a combination drive shaft. Nevertheless, the magnet drive pulleys 1816c.
of at least one gear and at least two belts, wherein each belt is 1816d can rotate, and with their rotational movement the
coupled to a tensioner assembly as generally described magnet drive pulleys 1816c. 1816d can rotate, or be rotated
herein. In an alternative embodiment, the magnets are 40 by, the magnets 1802b, 1802c.
coupled to each other by a rotation means, wherein the rota          Also shown in FIG. 18 are support screws 1826a, 1826b
tion means is configured to drive the rotation of the magnets which attach the support columns 1824b (other support col
simultaneously.                                                   umns are either not called-out or not shown in FIG. 18) to the
    The tensioner assemblies in the embodiments shown in          side support 1822 and/or to the side support 1820.
FIG. 17, FIG. 18, and FIG. 19, for non-limiting example, are 45 FIG. 19 shows the example NEST device embodiment of
configured to keep the drive belts taut during use and, there FIG. 17 and/or of FIG. 18 having three diametrically magne
fore, ensure that the rotation of the magnets is simultaneous tized cylindrical magnets 1902a, 1902b, 1902c configured to
and generally in-phase as applied to the Subject where the rotate about their cylinder axes and including a frame 1934
magnets are aligned Such that each of the neutral planes of and base 1936 for mounting the NEST device. The embodi
each of the three magnets are generally aligned to be parallel 50 ment shown in FIG. 19 includes a NEST device having three
to the scalp of the subject.                                      magnets 1902a, 1902b, 1902c, each having magnet drive
    FIG. 18 depicts an exploded view of the example embodi pulleys 1916a, 1916b, 1916C, 1916d at least partially about
ment of the NEST device 1888 of FIG. 17 having three which is wrapped a drive belt 1918a, 1918b, 1918c, 1918d
diametrically magnetized cylindrical magnets configured to each of which is also at least partially wrapped around a
rotate about their cylinder axes. Shown in FIG. 18 is a NEST 55 tensioner drive pulley 1914a, 1914b (not shown) 1914c (not
device 1888 having two tensioner assemblies 1808a, 1808b.         shown) 1914d (not shown) coupled to a tensioner arm 1912a,
Tensioner assembly 1808a comprises a tensioner block 1912b (not shown) of a tensioner assembly. Each tensioner
1810a that couples to the side support 1822 by at least one assembly may include a tensioner block 1910a (not shown)
tensioner dowel pin 1832a. The tensioner block 1810a also         1910b, and a tensioner spring 1930a (not shown), 1930c
couples to the side support 1820 by at least one tensioner 60 which cooperate with at least one of the side supports 1922,
dowel pin 1832b. The tensioner block 1810a floats freely 1920 to pull the drive belts 1918a, 1918b, 1918c, 1918d taut.
along at least a portion of the dowel pins 1832a, 1832b. The The magnets 1902a, 1902b, 1902c are rotatably coupled to
tensioner block 1810a is attached to a tensioner arm 1812a        side supports 1922, 1920, and at least one magnet 1902a in
which has two tensioner drive pulleys 1814a, 1814d, which the embodiment shown is coupled to a drive shaft 1904 which
couple to drive belts 1818a, 1818b (respectively) which 65 rotates the magnet 1902a to which it is directly coupled, and
themselves are coupled to magnets 1802a, 1802b (respec through the cooperation of the magnet drive pulleys 1916a,
tively) of the device 1888 through magnet drive pulleys 1916b, 1916c, 1916d, drive belts 1918a, 1918b, 1918c,
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1918d, and tensioner drive pulleys 914a, 1914b (not shown)              FIG. 21 shows the magnet rotation of the example NEST
1914c (not shown) 1914d (not shown), also rotates the other device embodiment of FIG. 20 having eight diametrically
magnets 1902b, 1902c of the NEST device such that all of the magnetized cylindrical magnets 2102a-2102h configured to
magnets 1902a, 1902b, 1902c rotate simultaneously.                   rotate about their cylinder axes. FIG. 21 shows a side view of
   FIG. 20 shows an example embodiment of a NEST device an embodiment of a NEST device (not showing, for example,
having eight diametrically magnetized cylindrical magnets side Supports), which is similar to the embodiment shown in
2002a-2002h, configured to rotate about their cylinder axes.         FIG. 20. In this embodiment, each of the magnets 2102a
Each of the magnets 2002a-2002h has at least one magnet 2102h has at least two drive belts (for example, drive belts
drive pulley 2016a-2016n coupled to it which rotates the 2118a, 2118h) coupled to it which rotate the magnet 2102a
magnet 2002a-2002h when the magnet drive pulley 2016a 10 2102h, or which are rotated by the magnet 2102a-2102h,
2016n is rotated by a belt 2018.a-2018h that is at least partially when the drive shaft 2104 is rotated. In the embodiment
wrapped around at least one of the magnet drive pulleys shown, two drive belts 2118d, 2118e are wrapped at least
2016a-2016 n. In the embodiment shown, a drive shaft 2004            partially around the drive shaft 2104. The drive shaft 2104
has two drive belts 2018d, 2018e wrapped at least partially thus rotates all of the magnets 2102a-2102h simultaneously
around the drive shaft 2004. The drive shaft 2004 thus rotates 15 through a series of drive belts 2118a-2118h all coupled to the
all of the magnets 2002a-2002h simultaneously through a drive shaft 2104. Shown in this embodiment is an example of
series of drive belts 2018.a-2018h and magnet drive pulleys the direction of rotation of the magnets 2102a-2102h (indi
2016a-2016.n all coupled to the drive shaft 2004.                    cated by arrows) resulting from a clockwise rotation of the
   For example, the first drive belt 2018e is wrapped at least drive shaft 2104. An opposite direction of movement is
partially around the drive shaft 2004, and is also wrapped at achieved when the drive shaft is rotated in a counter-clock
least partially around a first magnet drive pulley 2016.h of a wise direction. In the embodiment shown, the clockwise rota
first magnet 2002e. A second drive belt 2018fis wrapped at tion of the drive shaft 2104 rotates all of the magnets 2102a
least partially around a second magnet drive pulley 2016i of 2102h in a clockwise direction due to the belt 2118q-2118h
the first magnet 2002e. The second drive belt 2018f is also arrangement shown. Each of the belts 2118a-2118h shown is
wrapped at least partially around a third magnet drive pulley 25 wrapped either around two magnets or around a magnet and
2016i of the second magnet 2002f. A third drive belt 2018g is the drive shaft.
wrapped at least partially around a fourth magnet drive pulley
2016k of the second magnet 2002f. The third drive belt 2018g                                  Example 10
is also wrapped at least partially around a fifth magnet drive
pulley 20161 of a third magnet 2002g. A fourth drive belt 30 In particular embodiments, a disc shaped magnet that is
2018h is wrapped at least partially around a sixth magnet axially magnetized (the poles are on the top and bottom faces)
drive pulley 2016m of the third magnet 2002g. The fourth can be cut in half, one half turned over (aligning N of one half
drive belt 2018h is also wrapped at least partially around a with S of the other half) and placed together. This disc can be
seventh magnet drive pulley 2016n of a fourth magnet 2002h.          spun about the center of the disc to get a magnetic field that is
As arranged, therefore, the motion of the first drive belt 2018e 35 uniform over a large area. In a similar embodiment, two
coupled to the drive shaft 2004 rotates the first magnet 2002e, rectangular magnets having poles aligned and positioned
the second magnet 2002f the third magnet 2002g, and the similarly to the disc as previously described can be spun about
fourth magnet 2002h simultaneously.                                  the center of the rectangular magnets to create a similarly
   Similarly, the fifth drive belt 2018d is wrapped at least uniform field. An example of the disc magnetis shown in FIG.
partially around the drive shaft 2004, and is also wrapped at 40 22, and an example of the rectangular magnet similar to the
least partially around an eighth magnet drive pulley 2016g of disc magnet is shown in FIG. 23.
a fifth magnet 2002d. A sixth drive belt 2018c is wrapped at            FIG.22 shows an example embodiment of a NEST device
least partially around a ninth magnet drive pulley 2016.fof the having two disc magnets 2202a, 2202b that rotate about a
fifth magnet 2002d. The sixth drive belt 2018c is also common rotation axis 2236. The device comprises two disc
wrapped at least partially around a tenth magnet drive pulley 45 shaped magnets 2202a, 2202b that are axially magnetized
2016e of the sixth magnet 2002c. A seventh drive belt 2018b (the poles are on the top and bottom faces). The north pole of
is wrapped at least partially around an eleventh magnet drive the first magnet 2202a aligns with the southpole of the second
pulley 2016d of the sixth magnet 2002c. The seventh drive magnet 2202b (aligning their neutral planes). The device
belt 2018b is also wrapped at least partially around a twelfth further comprises a drive shaft 2204 that aligns with the
magnet drive pulley 2016c of a seventh magnet 2002b. An 50 center of the disc magnets 2202a, 2202b and with, therefore,
eighth drive belt 2018a is wrapped at least partially around a the rotation axis 2236 of the magnets 2202a, 2202b.
thirteenth magnet drive pulley 2016b of the seventh magnet              FIG. 23 shows an exploded view of an alternate embodi
2002b. The eighth drive belt 2018a is also wrapped at least ment of an example NEST device embodiment similar to that
partially around a fourteenth magnet drive pulley 2016.a of an of FIG.22 having two rectangular magnets 2302a, 2302b that
eighth magnet 2002a. As arranged, therefore, the motion of 55 rotate around a common rotation axis 2336. The device com
the fifth drive belt 2018d coupled to the drive shaft 2004 prises two rectangular magnets 2302a, 2302b that are mag
rotates the fifth magnet 2002d, the sixth magnet 2002c, the netized such that the north pole of the first magnet 2302a
seventh magnet 2002b, and the eighth magnet 2002a simul faces away from the drive shaft2304, and the south pole of the
taneously. In an alternative embodiment, the drive shaft has first magnet 2302a faces the drive shaft 2304, and the north
only one drive belt that drives all of the rotation of all of the 60 pole of the second magnet 2302b faces the drive shaft 2304
magnets. Also shown in FIG. 20 are the side supports 2022, while the south pole of the second magnet 2302b faces away
2020 connected by at least two support columns 2024a, from the drive shaft 2304. The poles of each of the magnets
2024b. The supports 2020, 2022 hold each of the magnets 2302a, 2302b, thus, face the top cover 2352 and the bottom
2002a-2002h in place relative to the supports 2020, 2022 cover 2350 of the device, but the magnets 2302a, 2302b, have
while allowing rotational motion of the magnets 2002a 65 opposite polarity. In the embodiment shown, the first magnet
2002h and of the drive shaft 2004 which may be driven, for 2302a is held in place in the device by a first magnet holder
non-limiting example, by a motor (not shown).                        2344a having two pieces that are connected by a magnet
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holder cap screw 2342 and a magnet holder dowel pin 2340. 2562, a display 2564, a random/continuous control 2566, and
The first magnet 2302a is placed between and at least partially a high/low control 2568. A user can adjust each of these
within the pieces of the first holder 2344a. Likewise, the controls, which are coupled to a processor circuit board 2570
second magnet 2302b is held in place in the device by a and thus coupled to the motor driver 2574.
second magnet holder 2344b having two pieces that are con            Alternatively, and/or additionally, the drive shaft 2504 and/
nected by a magnet holder cap screw (not shown) and a or the magnet(s) may be controlled automatically based on a
magnet holder dowel pin (not shown). The second magnet prescribed treatment (time of treatment, frequency of magnet
2302b is placed between and at least partially within the rotation, etc) that is downloaded and/or programmed into the
pieces of the second holder 2344b. The two holders 2344a, processor circuit board 2570 from a source external or inter
2344b are coupled together, and may have a center beam 2348 10 nal to the controller subunit, as previously described herein.
that holds the first and second holders 2344a, 2344b together. Treatments received may be stored by the controller subunit.
The holders 2344a, 2344b may also be held together addi Additionally and/or alternatively, where EEG electrodes are
tionally or alternatively by adhesive 2346. The drive shaft also present in the device and are capable of measuring the
2304 is coupled to the holders 2344a, 2344b, in the embodi Subject's brain waves, the device may adjust the treatment
ment shown, by attaching to the centerbeam 2348, which thus 15 automatically by a biofeedback system. Additionally and/or
couples the magnets 2302a, 2302b to the drive shaft 2304 alternatively, where EEG electrodes are present in the device
such that rotation of the drive shaft 2304 likewise spins the and are capable of measuring the Subject's brain waves, the
magnets 2302a, 2302b within the holders 2344a, 2344b about treatment may be chosen based on the readings of the Sub
the rotation axis 2336. The drive shaft 2304 may alternatively ject's brain waves prior to the treatment. Additionally and/or
and/or additionally be coupled to the holders 2344a, 2344b alternatively, where EEG electrodes are present in the device
and to the center beam 2348 by adhesive 2346. The magnets and are capable of measuring the Subject's brain waves, the
2302a, 2302b encased in the holders 2344a, 2344b are addi          treatment may be chosen automatically by the device based
tionally housed within a top cover 2352 and a bottom cover on the readings of the subject's brain waves prior to the
2350. The covers 2350, 2352 are connected to one another by treatment and based on a set of rules stored in the controller
at least one cover cap screw 2354. The drive shaft 2304 fits 25 subunit. Additionally and/or alternatively, where EEG elec
through at a hole 2356 in at least one of the covers, for trodes are present in the device and are capable of measuring
example, the bottom cover 2350. Where the cover 2350 is the subjects brain waves, the controller subunit is capable of
disc-shaped, as shown in FIG. 23, the hole 2356 is located the storing the output of the EEG electrodes prior to, during,
center of the disc cover 2350, and the hole 2356 is configured and/or after treatment with the NEST device. Additionally
such that the drive shaft2304 may rotate freely within the hole 30 and/or alternatively, where EEG electrodes are present in the
2304, for example, with aid of a bearing which allows drive device and are capable of measuring the Subject’s brain
shaft rotation (and, thus, magnet rotation) relative to the cov waves, the controller subunit is capable of transmitting the
ers 2350, 2352.                                                    output of the EEG electrodes prior to, during, and/or after
                                                                   treatment with the NEST device. This transmitting may be
                           Example 11                           35 real-time (during measurement), or after storage of the EEG
                                                                   electrode outputs and during an upload or download from the
   FIG. 24 shows an example embodiment of a NEST device NEST device.
similar to the embodiments depicted in FIGS. 22 and/or 23
having two magnets 2402a, 2402b rotating about a common                                     Example 12
rotation axis applied to a subject 2406 and showing the con 40
troller subunit 2458 coupled to a drive shaft 2404 that rotates            Effect of a Device Lowering Blood Pressure
the magnets 2402a, 2402b. The controller subunit 2458 may
contain a motor (not shown) that cooperates with the drive           An effect of use of a modified rTMS device according to
shaft 2404 to rotate the magnets 2402a, 2402b.                     the methods and device descriptions provided herein was
   FIG. 25 shows block diagram of an example embodiment 45 shown to reduce the symptoms of fibromyalgia. The patient
of a NEST device showing example elements of the NEST complained of chronic widespread pain and tenderness to
device and of its controller subunit. For example the embodi light touch, and was diagnosed with fibromyalgia. The NEST
ment shown depicts a magnet 2502 that is mounted by a frame device was used to tune an intrinsic frequency (of the patients
2534 to a base 2536. This allows the magnet 2502 to be held alpha wave). Following treatment, the patient reported a
stationary as the device treats a subject whose head may be 50 reduction of the symptoms of fibromyalgia.
positioned near to the magnet 2502 (within the magnetic field
produced by the magnet 2502). The magnet 2502 is coupled                                    Example 13
to the controller subunit 2558 by a drive shaft 2504. The drive
shaft 2504 may couple to a motor 2572 of the controller               FIG. 26 shows an example embodiment of a NEST device
subunit 2558 by a coupling 2578. The coupling may allow for 55 having a single bar magnet 2602 that moves linearly along its
various magnet arrangements to be interchanged by merely north-south axis 2639 once each time the Supporting ring (or
decoupling the drive shaft from the controller subunit and annulus) 2619 is rotated (rotation shown by arrows in FIG.
coupling a device having another arrangement of magnets 26), providing a pulse-type alternating magnetic field at the
(such as, for example, those described herein). The magnet frequency of rotation. In this embodiment, a magnet 2602 is
2502 may be controlled by the controller subunit 2558 60 secured against a rotating ring (or annulus)2619 with a spring
through the motor 2572 that may be driven by a motor driver 2628, where the ring 2619 has one or more detents 2629. The
2574. The motor driver 2574 may be coupled (directly or subject 2606 is shown below the ring 2619 in FIG. 26. When
indirectly) to a power supply 2576. The motor driver 2574, the ring 2619 is rotated, as shown with the arrows in FIG. 26,
which can control, for non-limiting example, the speed, direc the magnet 2602 will be thrust into each detent 2629 once per
tion, acceleration, etc., of the magnet 2502 through the drive 65 rotation. As the ring 2619 continues to rotate, the magnet
shaft 2504, can be directed and/or monitored by controls such 2602 will move back to its original position. This periodic
as, for example, a device speed control 2560, an on/off control thrust may generate a more unipolar pulsatile magnetic field
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than that generated by a rotating magnet. The width and          changing frequencies once per second. If the patient was in
amplitude of the magnetic pulse depends on the mass and          the "SHAM” group, the magnets in the NEST were replaced
strength of the magnet, as well as the strength of the spring,   with Steel cylinders, thereby imparting no magnetic field to a
and the depth of the detent.                                     head of the patient. The patients in this group were divided
   In alternative embodiments to that shown in FIG. 26, there    into two Subgroups with equal probability, with one group
could be multiple detents in the ring. The ring could be having the cylinders rotated at the intrinsic frequency and the
non-circular. The magnet could rotate around the ring, while other group having the cylinders rotated at random frequen
the ring is stationary. There could be multiple magnets and a cies as noted above. For this clinical trial sixteen (16) subjects
single detent. There could be multiple magnets and multiple received treatment with the NEST device. Eleven (11) sub
detents. Instead of a detent, the magnet or magnets could 10 jects responded to treatment (i.e. the Responders) and five (5)
encounter a ridge, or multiple ridges. The magnet or magnets Subjects did not respond to treatment (i.e. Non-Responders).
could encounter slopes, rather than sharp detents or ridges.     Eleven (11) patients received treatment with the SHAM
The magnet could be positioned such that the north pole is device.
closer to the treatment area than the South pole, or Such that      FIG. 31 shows the percentage change in HAMD score in
the south pole is closer to the treatment area than the north 15 subjects being treated with the NEST device over the course
pole (such as is shown in FIG. 26). In some embodiments, the of four (4) weeks. It is divided between subjects who
number of detents is the same as the number of magnets of the responded to treatment (i.e. Responders) and Subjects who
device. In some embodiments, the number of detents is not        did not respond to treatment (i.e. Non-Responders).
the same as the number of magnets of the device. In some Responders were classified as such when their HAMD scores
embodiments, the number of detents is a multiple of the decreased by 50% at least over the course of the four (4)
number of magnets of the device. In some embodiments, the weeks of treatment. The first bar is the average baseline
number of detents is not a multiple of the number of magnets HAMD score. Each subsequent bar represents the average
of the device.                                                     HAMD score at the end of a week, weeks 1,2,3, and 4, left to
   In an alternative embodiments of the device, the magnet right, respectively.
may flip (or rotate) about an axis between the north pole and 25 FIG. 32 shows the percentage change in HAMD score in
south pole as a ring similar to that shown in FIG. 26 rotates.      subjects being treated with the NEST device versus the
The magnet may be freely rotatable about the axis between SHAM device over the course of four (4) weeks, as described
the north pole and South pole, and the magnet may be rotat in reference to FIG.31 above. Baseline is not represented on
able about a shaft. The shaft, in this embodiment, is not           the graph it should be assumed to be 0.00. The first data
coupled to a drive source. Rather, the ring itself may drive the 30 point represents the average change after one (1) week of
flipping (rotating) of the magnet by capturing a first portion of treatment. The second data point is the average change after
the magnet in a first detent and moving that first portion as the two (2) weeks of treatment. The third data point is the average
ring moves until a second portion of the magnetis captured by change after three (3) weeks of treatment. The fourth data
second detent of the ring which likewise moves the second point is the average change after four (4) weeks of treatment.
portion of the magnet. In some embodiments, the first portion 35 The top line represents the average HAMD score for subjects
is associated with a first pole of the magnet, and the second treated with the NEST device, the bottom line represents the
portion is associated with a second pole of the magnet. In one average HAMD score for subjects treated with the SHAM
embodiment, the first pole may be the north pole of the device.
magnet and the second pole may be the South pole of the
magnet. In another embodiment, the first pole may be the 40                                  Example 15
South pole of the magnet and the second pole may be the north
pole of the magnet. A drive source may drive the movement of           FIG. 33 shows the results of a clinical trial utilizing the
the ring which, in turn, drives the rotation of the magnet. The NEST device for the treatment of anxiety. This trial involved
drive source may be motor, for non-limiting example.                two (2) patients (subjects). Both patients received treatment
                                                                 45 with the NEST device as shown in FIG. 19, with permanent
                           Example 14                               magnets arranged as shown in FIG.16. In the method used for
                                                                    these patients, a magnetic field was adjusted to influence the
   FIGS. 31 and 32 show the results of a clinical trial utilizing Q-factor of an intrinsic frequency of each subject within the
the NEST device and methods for the treatment of depression alpha-band. The magnetic field was applied close to the head
as provided herein. A device was used such as shown in FIG. 50 of the subject. EEG readings were taken before treatment
19, with permanent magnets arranged as shown in FIG. 16. In began. A Cadwell Easy 2.1 EEG system was used to take a
the method used in this trial, a magnetic field was adjusted to     19-lead EEG reading. The intrinsic frequency in the alpha
influence the Q-factor of an intrinsic frequency of each Sub band (7-11 Hz) was determined using the initial EEG reading.
ject within the alpha-band. The magnetic field was applied Both patients were treated with a constant frequency, wherein
close to the head of the subject. EEG readings were taken 55 for each patient the NEST was set to rotate the magnets at the
before treatment began. A Cadwell Easy 2.1 EEG system was intrinsic frequency detected for that patient. Patients received
used to take a 19-lead EEG reading. The intrinsic frequency in treatment every weekday for 30 days. EEG readings were
the alpha band (7-11 Hz) was determined using the initial taken after treatment at least on a weekly basis. The first data
EEG reading. Patients were placed in one of three groups:           point is the baseline HAMA score. The second data point for
constant frequency, random frequency, or sham, with equal 60 each line represents the HAMA score after one (1) week of
probability for each group. Patients received treatment every treatment for each patient. The third data point for each line
weekday for 30 days. EEG readings were taken after treat represents the HAMA score after two (2) weeks of treatment
ment at least on a weekly basis. If the patient was in the for each patient. The fourth data point for each line represents
“constant frequency” group, the NEST was set to rotate the the HAMA score after four (4) weeks of treatment for each
magnets at the intrinsic frequency. If the patient was in the 65 patient.
“random frequency” group, the NEST was set to rotate the              The various functions or processes disclosed herein (such
magnets at random frequencies between 6 Hz, and 12 Hz, as, for non-limiting example, logic that performs a function or
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process) may be described as data and/or instructions embod          as embodied in machine-readable medium, other aspects may
ied in various computer-readable media, in terms of their            likewise be embodied in machine-readable medium. Accord
behavioral, register transfer, logic component, transistor, lay      ingly, the inventors reserve the right to add additional claims
out geometries, and/or other characteristics. The logic              after filing the application to pursue Such additional claim
described herein may comprise, according to various embodi           forms for other aspects of the system, methods, or devices.
ments of the invention, Software, hardware, or a combination            While preferred embodiments of the present invention
of software and hardware. The logic described herein may             have been shown and described herein, it will be obvious to
comprise computer-readable media, Computer-readable                  those skilled in the art that such embodiments are provided by
media in which Such formatted data and/or instructions may           way of example only. Numerous variations, changes, and
be embodied include, but are not limited to, non-volatile 10 substitutions will now occur to those skilled in the art without
storage media in various forms (e.g., optical, magnetic or           departing from the invention. It should be understood that
semiconductor storage media) and carrier waves that may be           various alternatives to the embodiments of the invention
used to transfer Such formatted data and/or instructions             described herein may be employed in practicing the inven
through wireless, optical, or wired signaling media or any           tion. It is intended that the following claims define the scope
combination thereof. Examples of transfers of such formatted 15 of the invention and that methods and structures within the
data and/or instructions by carrier waves include, but are not Scope of these claims and their equivalents be covered
limited to, transfers (uploads, downloads, e-mail, etc.) over thereby.
the Internet and/or other computer networks via one or more           What is claimed is:
data transfer protocols (e.g., HTTP, FTP, SMTP, etc.). When           1. A device comprising (a) a permanent magnet; and (b) a
received within a computer system via one or more computer controller subunit that moves the permanent magnet in order
readable media, such data and/or instruction-based expres to apply a magnetic field to a brain of a subject at one or more
sions of components and/or processes under the ICS may be frequencies between about 2 and 50 Hz; wherein the control
processed by a processing entity (e.g., one or more proces ler Subunit is configured to move a Q-factor of an intrinsic
sors) within the computer system in conjunction with execu frequency of the brain of the subject within a specified EEG
tion of one or more other computer programs.                    25 band up, down, or toward a pre-selected Q-factor.
   Unless the context clearly requires otherwise, throughout          2. The device of claim 1, wherein the controller subunit
the description and the claims, the words "comprise.” “com comprises a communication subunit for coupling to at least of
prising.” and the like are to be construed in an inclusive sense an internet line, a telephone line, and a combination thereof.
as opposed to an exclusive or exhaustive sense; that is to say,       3. The device of claim 1, wherein the controller subunit
in a sense of “including, but not limited to.” Words using the 30 comprises a Smart card.
singular or plural number also include the plural or singular         4. The device of claim 1, wherein the controller subunit
number respectively. Additionally, the words “herein.” “here comprises logic that calculates information from EEG data
under,” “above.” “below,” and words of similar import refer to collected from the subject within the specified EEG band,
this application as a whole and not to any particular portions wherein said information comprises the Q-factor of the intrin
of this application. When the word 'or' is used in reference to 35 sic frequency of the brain of the subject within the specified
a list of two or more items, that word covers all of the follow      EEG band.
ing interpretations of the word: any of the items in the list, all     5. The device of claim 4, wherein the controller subunit
of the items in the list and any combination of the items in the  comprises logic that uploads said information through at least
list.                                                             one of an internet line and a telephone line to an EEG data
    The above descriptions of illustrated embodiments of the 40 analysis service capable of storing said information.
system, methods, or devices are not intended to be exhaustive        6. The device of claim 1, wherein the controller subunit
or to be limited to the precise form disclosed. While specific comprises logic that downloads a treatment dosage quota.
embodiments of and examples for, the system, methods, or             7. The device of claim 6, wherein the treatment dosage
devices are described herein for illustrative purposes, various quota is chosen by a user treating a subject based on a diag
equivalent modifications are possible within the scope of the 45 nosis of the Subject.
system, methods, or devices, as those skilled in the relevant        8. The device of claim 6, wherein the controller subunit
art will recognize. The teachings of the system, methods, or comprises logic that ceases to deliver treatment after a treat
devices provided herein can be applied to other processing ment dosage quota downloaded by a user is depleted.
systems, methods, or devices, not only for the systems, meth         9. The device claim 1, wherein the controller subunit com
ods, or devices described.                                     50 prises logic that allows a user to establish a user account.
  The elements and acts of the various embodiments                     10. The device of claim 1, wherein the controller subunit
described can be combined to provide further embodiments. comprises logic that moves the Q-factor down by applying the
These and other changes can be made to the system in light of magnetic field comprising varying frequencies to the brain of
the above detailed description.                                 the subject.
   In general, in the following claims, the terms used should 55 11. The device of claim 10, wherein the varying frequen
not be construed to limit the system, methods, or devices to cies are centered around the intrinsic frequency.
the specific embodiments disclosed in the specification and        12. The device of claim 1, wherein the controller subunit
the claims, but should be construed to include all processing comprises logic that moves the Q-factor up by applying the
systems that operate under the claims. Accordingly, the sys magnetic field comprising a single pre-selected frequency to
tem, methods, and devices are not limited by the disclosure, 60 a brain of the subject.
but instead the scopes of the system, methods, or devices are      13. The device of claim 12, wherein the pre-selected fre
to be determined entirely by the claims.                        quency is the intrinsic frequency.
   While certain aspects of the system, methods, or devices        14. A device comprising, (a) a magnetic field generator
are presented below in certain claim forms, the inventors operable to apply a magnetic field at one or more frequencies
contemplate the various aspects of the system, methods, or 65 between about 2 Hz, and 50 Hz to a brain of a subject wherein
devices in any number of claim forms. For example, while the brain comprises an intrinsic frequency within a specified
only one aspect of the system, methods, or devices is recited EEG band and wherein the magnetic field is configured to
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move a Q-factor of the intrinsic frequency up, down, or          treatment dosage quota is depleted and wherein the treatment
toward a pre-selected Q-factor; and (b) a controller subunit     dosage quota is chosen by a user treating a subject based on a
that controls at least one of applying the magnetic field, and   diagnosis of the subject and downloaded to the controller
applying treatments to the Subject.                              Subunit.
  15. The device of claim 14, wherein the controller subunit 5      19. The device of claim 14, wherein the controller subunit
comprises a communication subunit for coupling to at least of comprises logic that moves the Q-factor down by applying the
an internet line, a telephone line, and a combination thereof.magnetic field comprising varying frequencies to the brain of
   16. The device of claim 14, wherein the controller subunit the subject.
comprises a memory Subunit for storing treatment informa 10 20. The device of claim 19, wherein the varying frequen
tion.                                                         cies are centered around the intrinsic frequency.
  17. The device of claim 14, wherein the controller subunit        21. The device of claim 14, wherein the controller subunit
further comprises logic that ceases to deliver treatment after a comprisesfield
                                                                             logic that moves the Q-factor up by applying the
treatment dosage quota is depleted and wherein the controller magnetic
                                                                 a brain of the
                                                                                 comprising a single pre-selected frequency to
                                                                                subject.
Subunit comprises logic that downloads the treatment dosage 15
quota.                                                              22. The device of claim 21, wherein the pre-selected fre
   18. The device of claim 14, wherein the controller subunit    quency is the intrinsic frequency.
further comprises logic that ceases to deliver treatment after a                         k  k   k   k   k
